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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION

 MRP PROPERTIES CO., LLC, et al.,

                Plaintiffs,                                  Case No. 1:17-cv-11174

 v.                                                          Honorable Thomas L. Ludington
                                                             United States District Judge
 UNITED STATES OF AMERICA,

             Defendant.
 ________________________________________/

       OPINION AND ORDER GRANTING IN PART AND DENYING IN PART
   PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT, GRANTING IN PART AND
   DENYING IN PART DEFENDANT’S MOTION FOR SUMMARY JUDGMENT, AND
             OVERRULING DEFENDANT’S OBJECTION AS MOOT

        This matter is before this Court upon cross-motions for summary judgment from Plaintiffs

 MRP Properties, et al., ECF No. 68, and the United States (“the Government”), ECF No. 81, as

 well as the Government’s objection to two of Plaintiffs’ expert reports, ECF No. 80. Plaintiffs

 claim they “have incurred and will continue to incur response costs consistent with the National

 Contingency Plan (‘NCP’)” related to “wartime contamination.” ECF No. 43 at PageID.709. After

 failed negotiations with the Government, Plaintiffs brought this action seeking “payment of the

 Government’s fair share.” Id. at PageID.699, 778–79. For the reasons stated hereafter, Plaintiffs’

 Motion will be granted in part and denied in part, the Government’s Motion will be granted in part

 and denied in part, and the Government’s objection will be overruled as moot.

                                                 I.

        This case is rooted in the complex history of the United States’s efforts to coordinate the

 domestic processing of petroleum oil to win World War II (WWII).

                                                A.
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        In December 1941, Congress declared war on Japan and Germany following the Imperial

 Japanese Navy’s attack on Pearl Harbor. Compania Maritima v. United States, 145 F. Supp. 935,

 937 (Ct. Cl. 1956); id. at 944 (Littleton & Madden, JJ., dissenting). Later that month, Congress

 enacted the First War Powers Act, empowering President Roosevelt to puppeteer executive

 agencies for the war effort. See generally Fleming v. Mohawk Wrecking & Lumber Co., 331 U.S.

 111 (1947). In March 1942, Congress enacted the Second War Powers Act, granting the President

 license to jigger the war economy, which included the production of petroleum. Louisville Flying

 Serv. v. United States, 64 F. Supp. 938, 941 (W.D. Ky. 1945).

        Petroleum was critical to the United States during WWII, yielding everything from tires to

 bombs to heat for hospitals and kitchens. ECF No. 74-1 at PageID.4487.1 Indeed, the armed

 services regularly used over 500 different petroleum products, without which “the warrior could

 neither fight nor live.” ECF No. 68-2 at PageID.1115 (quoting J. A. KRUG, HAROLD L. ICKES &

 RALPH K. DAVIS, U.S. PETROL. ADMIN.            FOR   WAR, A HISTORY       OF THE    PETROLEUM

 ADMINISTRATION FOR WAR, 1941–1945, at 1 (John W. Frey & H. Chandler Ide eds., 1946)). But

 “business as usual would not work,” as crude was in short supply nationwide, and the Allies2

 required nearly seven billion barrels of petroleum—six billion of which came from the United

 States alone. ECF Nos. 74-1 at PageID.4477; 74-2 at PageID.4499; 81-2 at PageID.7793.




 1
   All citations to the record containing a “subnumber” (e.g., ECF No. 74-1; 77-47; 81-2) are
 citations to exhibits attached to the parties’ briefs.
 2
   The Allies, which later formed the United Nations, were an international military coalition
 formed during WWII to defeat the Axis powers. Although eventually including over 25 countries,
 during WWII the Allies principally consisted of the “four Powers”: the United Kingdom, the
 United States, the Soviet Union, and China. See Richard W. Van Alstyne, The United States and
 Russia in World War II: Part I, 19 CURRENT HIST. 257, 260 (1950).
                                               -2-
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        To ensure victory, the United States created an oil agency called the Petroleum

 Administration for War (“PAW”).3 ECF No. 81-2 at PageID.7789. PAW “exercised significant

 control over,” among other things, the prices, profits, and allocation of petroleum products and the

 raw materials needed to create them. See United States v. Shell Oil Co., 294 F.3d 1045, 1049–50

 (9th Cir. 2002). But overseeing the nation’s petroleum refineries proved daunting.

        To alleviate congestion at its centralized office in Washington, D.C., PAW divided the

 United States into five Districts4: District I (East Coast), District II (Midwest), District III (Gulf

 Coast), District IV (Rocky Mountain), and District V (West Coast). ECF No. 74-1 at PageID.4479.

 The five Districts were more “familiar with local situations” and “provided necessary supervision

 over” the petroleum refineries. Id. Each District’s director “had over-all responsibility for activities

 in the district.” Id. Each District entailed “successive delegations of authority” to administer

 PAW’s orders and directives to petroleum refineries. Id. And each District included subdivisions

 that supervised, among other things, the production, refining, supply, transportation, distribution,

 and marketing of petroleum products. Id.

        In December 1942, President Roosevelt issued Executive Order 9276, providing PAW with

 practically unfettered control over the petroleum industry. See MRP Props., LLC v. United States,

 308 F. Supp. 3d 916, 920 (E.D. Mich. 2018). Thus empowered, PAW went to great lengths to plan

 the allocation of crude oil to petroleum refineries for up to a year in advance. ECF No. 74-1 at

 PageID.4479. There was no room for “failure in meeting the war requirements for oil,” so PAW




 3
   At its inception on May 28, 1941, PAW was called “The Office of Petroleum Coordinator for
 National Defense.” ECF No. 74-1 at PageID.4477. After WWII began, it was called the “Office of
 Petroleum Coordinator for War.” Id. On December 2, 1942, “its authority was strengthened” as
 the “Petroleum Administration for War.” Id.
 4
   Although officially called Petroleum Administration for Defense Districts (PADDs), the parties
 and sources refer to the PADDs as “Districts.”
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 issued directives as necessary to acquire the “materials that it needed to fulfill the petroleum

 industry’s responsibility.” Id.; ECF No. 43 at PageID.705. But “there was never a time when crude

 supply was not a problem somewhere in the country.” ECF No. 74-1 at PageID.4482.

        To mitigate the effects of the crude-oil shortage, PAW tracked each refinery’s “crude

 stocks, runs, yields, and other pertinent information.” Id. at PageID.4483. Armed with that data,

 PAW diverted supplies to “refineries that were in the greatest need” from those “in [a] relatively

 comfortable position.” Id. To ensure maximum output of wartime products and to “keep all

 refineries operating,” PAW allocated “specific volumes of crude to specific refiners” every month

 and then divided all remaining crude equitably. Id. The refiners did “the greatest share of the

 work,” but PAW was always responsible for final approval. Id.

        Among the most intrusive conditions of PAW’s supervision over petroleum refineries was

 its frequent directives for them to change yields. Id. at PageID.4487. For example, PAW would

 telegram refineries to increase gasoline yields and decrease fuel-oil yields but then telegram the

 opposite soon after—often requiring refineries to change operations and equipment “virtually

 overnight.” Id. Unfortunately, as PAW’s Assistant Director of Refining put it, cleaning hazardous

 waste was a “necessary” part of the refineries’ operations. See ECF No. 78-28.

        To the extent PAW supervised refineries’ operations, it “told the refiners what to make,

 how much of it to make, and what quality” to make it. ECF No. 74-1 at PageID.4483. According

 to another high-ranking PAW official, the petroleum industry had “no choice.” ECF No. 74-30 at

 PageID.5274. The refineries “either produced the . . . products in accordance with the instructions

 and directives of PAW . . . . or they wouldn’t have any business to operate.” Id. Although “nobody

 wanted it to be that way,” it was “the only way to do it in wartime.” ECF No. 74-1 at PageID.4487.

                                                 B.



                                                -4-
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        Plaintiffs are six wholly owned subsidiaries or affiliates of the Valero Energy Corporation.5

 In April 2017, Plaintiffs filed a complaint against the Government under § 107(a) of the

 Comprehensive Environmental Response, Compensation, and Liability Act of 1980 (CERCLA),

 seeking response costs arising from the investigation and cleanup of pollution created by

 processing petroleum. ECF No. 43. To that end, Plaintiffs seek declaratory relief under § 113(g)(2)

 of CERCLA regarding the government’s liability.6 Id. at PageID.777–78. Plaintiffs contend that

 the Government “operated” 12 of their refineries before and during WWII and also “owned” one

 of them. This case is divided into two phases: liability and damages. ECF Nos. 47; 48; 49. Factual

 discovery closed in August 2019. ECF No. 52. Discovery for the liability phase ended on May 4,

 2020. Id.

        In September 2020, Plaintiffs filed a motion for summary judgment. ECF No. 68. In

 October 2020, the Government filed a combined cross-motion for summary judgment and response

 to Plaintiffs’ Motion. ECF Nos. 81; 86. On November 9, 2020, Plaintiffs filed a combined reply

 and response to Defendant’s Motion. ECF No. 91. On November 23, 2020, Defendant filed a

 combined sur-reply to Plaintiff’s Motion and reply to Plaintiff’s Response to its Motion. ECF No.

 96. On December 7, 2020, Plaintiffs filed a sur-reply to Defendant’s Motion. ECF No. 99.

                                                 C.




 5
   For a self-reported history of the Valero Corporation, see Valero Energy Corp., Our History,
 VALERO (2021), https://www.valero.com/about/our-history [https://perma.cc/2ZVD-7ESE].
 6
   Although Plaintiffs have not yet proven recovery costs, they need not do so when seeking
 declaratory relief under § 113(g)(2). Kelley v. E.I. DuPont de Nemours & Co., 17 F.3d 836, 844
 (6th Cir. 1994); see also Rachael A. Doyle, Comment, Obtaining A Declaratory Judgment Under
 CERCLA: Should the Past Control the Future?, 46 WAKE FOREST L. REV. 359, 368, 381 (2011)
 (stating that mandatory declaratory relief under CERCLA “allows for expedited responses and
 settlement, and encourages private parties to clean up according to the NCP after the defendant is
 declared liable, thereby serving CERCLA’s broader purposes” and “allowing the PRP to plan
 ahead”).
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           A motion for summary judgment should be granted if the movant “shows that there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

 FED. R. CIV. P. 56(a). The movant has the initial burden of “identifying those portions of [the

 record that], which it believes demonstrate the absence of a genuine issue of material fact.” Celotex

 Corp. v. Catrett, 477 U.S. 317, 323 (1986). The court must view the evidence and draw all

 reasonable inferences in favor of the nonmovant and determine “whether the evidence presents a

 sufficient disagreement to require submission to a jury or whether it is so one-sided that one party

 must prevail as a matter of law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251–52 (1986);

 see Lossia v. Flagstar Bancorp, Inc., 895 F.3d 423, 428 (6th Cir. 2018).

           The burden then shifts to the nonmovant, who must set out specific facts showing “a

 genuine issue for trial.” Anderson, 477 U.S. at 250 (citation omitted). The nonmovant must show

 more than “some metaphysical doubt as to material facts.” Matsushita Elec. Indus. Co. v. Zenith

 Radio Corp., 475 U.S. 574, 586 (1986). Indeed, the “mere existence of a scintilla of evidence” in

 support of the nonmovant does not establish a genuine issue of material fact. Anderson, 477 U.S.

 at 252.

           Summary judgment will be granted if the nonmovant “fails to make a showing sufficient

 to establish the existence of an element essential to that party’s case, and on which that party will

 bear the burden of proof at trial.” Celotex Corp., 477 U.S. at 322. But summary judgment will be

 denied “[i]f there are . . . ‘genuine factual issues that properly can be resolved only by a finder of

 fact because they may reasonably be resolved in favor of either party.’” Hancock v. Dodson, 958

 F.2d 1367, 1374 (6th Cir.1992) (citation omitted). The standard is the same when “the parties

 present cross-motions.” Taft Broad. Co. v. United States, 929 F.2d 240, 248 (6th Cir. 1991).

                                                  D.



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         Congress enacted CERCLA in 1980 to mitigate “the serious environmental and health risks

 posed by industrial pollution.” Burlington N. & Santa Fe Ry. v. United States, 556 U.S. 599, 602

 (2009); see also CTS Corp. v. Waldburger, 573 U.S. 1, 4 (2014); United States v. Bestfoods, 524

 U.S. 51, 55 (1998). As amended by the Superfund Amendments and Reauthorization Act of 1986

 (“SARA”), Pub. L. No. 99–499, 100 Stat. 1613, CERCLA provides several causes of action. At

 the heart of this case is § 107(a).

         Section 107(a) identifies four categories of potentially responsible parties (PRP)7 who may

 be liable for the costs of cleaning hazardous waste. See 42 U.S.C. § 9607(a)(1)–(4). As relevant,

 PRPs include “any person who at the time of disposal of any hazardous substance owned or

 operated any facility at which such hazardous substances were disposed of.” Id. § 9607(a)(2). Such

 “owners” and “operators” are liable for not only “all costs of removal or remedial action incurred

 by the United States Government or a State or an Indian tribe not inconsistent with the national

 contingency plan,” but also “any other necessary costs of response incurred by any other person

 consistent with the national contingency plan.” Id. § 9607(a)(4). CERCLA also provides a narrow

 set of defenses to § 107(a), none of which the parties have raised yet. See, e.g., id. §§ 9607(b), (e).

         If the Government is a PRP, it is “jointly and severally liable for any hazardous material

 that is found, whatever its source, unless [it] can show divisibility.” United States v. Twp. of

 Brighton (Brighton I), 153 F.3d 307, 317 (6th Cir. 1998) (citing 42 U.S.C. § 9607(a)(2)). Lower

 courts must follow the Restatement (Second) of Torts § 433A to determine whether harm is

 divisible in any specific case, which occurs when “there is a reasonable basis for determining the

 contribution of each cause to a single harm.” Burlington, 556 U.S. at 614. The burden of proof is



 7
   CERCLA defines a “potentially responsible party or PRP” as “any person who may be liable
 pursuant to section 107(a) of CERCLA, 42 U.S.C. 9607(a), for response costs incurred and to be
 incurred by the United States not inconsistent with NCP.” 40 C.F.R. § 304.12.
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 on defendants to establish that such a reasonable basis exists. See RESTATEMENT (SECOND) OF

 TORTS § 433B(2) (Am. L. Inst. 1965); Burlington, 556 U.S. at 617 (there must be “facts contained

 in the record reasonably support[ing] the apportionment of liability”). In this way, “responsible

 parties rarely escape joint and several liability,” and a single PRP may be held responsible for the

 entire cost of a cleanup even though many contributed the waste. O’Neil v. Picillo, 883 F.2d 176,

 178–79 (1st Cir. 1989).

        To mitigate frequently harsh results of making one or a few PRPs foot the bill for many,

 Congress authorizes PRPs to bring contribution actions under § 113, which provides:

                Any person may seek contribution from any other person who is liable or
        potentially liable under [§ 107(a)], during or following any civil action under [§
        106 or 107(a)]. . . . In resolving contribution claims, the court may allocate response
        costs among liable parties using such equitable factors as the court determines are
        appropriate. Nothing in this subsection shall diminish the right of any person to
        bring an action for contribution in the absence of a civil action under [§ 106 or 107].

 42 U.S.C. § 9613(f)(1). Section 113(f) enables a party liable for response costs to seek contribution

 from any other party liable or potentially liable under § 107(a). Under § 113, a PRP that “has

 resolved its liability to the United States or a State in an administrative or judicially approved

 settlement” is immune from contribution claims made by other PRPs “regarding matters addressed

 in the settlement.” Id. § 9613(f)(2). But a settling PRP may seek contribution under § 113(f)(3)

 from PRPs who have not settled. Id. § 9613(f)(3)(B). And § 107(a) allows a plaintiff to recover

 100% of its response costs from all liable parties, including those who have settled their CERCLA

 liability with the Government. Id. §§ 9613(g)(2), 9607(a).

        Section 113’s right to contribution is narrower than § 107’s. Section 107 has a six-year

 statute of limitations; § 113 has a three-year statute of limitations in certain scenarios. Under §

 107, plaintiffs may recover only costs beyond their equitable share and may not recover from

 parties who have settled. Id. § 9613(f)(1), (f)(2), (g)(3). Federal and state governments may sue

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 PRPs for response costs and may also be liable as PRPs for response costs others incur. See id. §

 9607(a)(4)(A) and (B).

        “To establish a prima facie case for cost recovery under § 107(a), a plaintiff must prove

 four elements: (1) the site is a ‘facility’; (2) a release or threatened release of hazardous substance

 has occurred; (3) the release has caused the plaintiff to incur ‘necessary costs of response’

 consistent with the NCP; and (4) the defendant falls within one of the four categories of potentially

 responsible parties.” Franklin Cnty. Convention Facilities Auth. v. Am. Premier Underwriters,

 Inc., 240 F.3d 534, 541 (6th Cir. 2001).

        The Environmental Protection Agency (EPA) administers CERCLA. 42 U.S.C. §§ 9604,

 9606. But states, tribes, and citizens may also enforce CERCLA. States may file a citizen suit

 against a federal agency to enforce interagency agreements (IAG) under § 310. Id. § 9659. Section

 126 requires the EPA to afford Indian tribes substantially the same treatment as a State with respect

 to certain CERCLA provisions. Id. § 9626. With some exceptions, § 310(a) allows citizens to file

 a civil action against any person or entity that is alleged to be in violation of any CERCLA

 standard, regulation, condition, requirement, order, or IAG. Id. § 9569(a)(1). In addition, § 310(a)

 allows citizens to file a civil action against the president or any other officer of the United States

 (including the EPA Administrator and the Administrator of the Agency for Toxic Substances and

 Disease Registry) for alleged failure to perform any nondiscretionary act or duty. Id. § 9569(a)(2).

        This Court will next address Plaintiffs’ operator-liability claims, infra Parts III, IV, V;

 Plaintiffs’ owner-liability claim, infra Part VI; and the Government’s objection, infra Part VII.

                                                   II.

        Although CERCLA “speak[s] for the trees,” it defines potentially liable parties “only by

 tautology.” United States v. Bestfoods, 524 U.S. 51, 56 (1998); see 42 U.S.C. § 9601(20)(A)(ii)



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  (defining “owner or operator” as “any person owning or operating such a facility”); DR. SEUSS,

  THE LORAX 22 (1971). Consequently, courts have not uniformly interpreted “operator.”

                                                   A.

         In FMC Corp. v. United States Department of Commerce, the owner of a former rayon-

  textile facility brought an action under CERCLA to recover clean-up costs from the Government

  based on its role in operating the facility during World War II. 29 F.3d 833, 843 (3d Cir. 1994) (en

  banc). The FMC court noted that “the Government can be liable when it engages in regulatory

  activities extensive enough to make it an operator of a facility.” Id. at 840. In determining whether

  the Government was an operator, the FMC court considered whether the Government exercised

  “actual and substantial control over the corporation’s day-to-day operations and its policy making

  decisions.” Id. (emphasis added). The FMC court concluded that the Government exercised

  “substantial control” because it controlled the “product the facility would produce, the level of

  production, the price of the product, and to whom the product would be sold.” Id.

         In United States v. Bestfoods, the Government brought an action to recover the clean-up

  costs of a chemical plant’s waste. 524 U.S. 51, 55 (1998). The issue before the Bestfoods Court

  was whether a parent corporation can “operate” a polluting facility that its subsidiary owns. The

  district court reasoned that:

         “[A] parent corporation is directly liable under section 107(a)(2) as an operator only
         when it has exerted power or influence over its subsidiary by actively participating
         in and exercising control over the subsidiary’s business during a period of disposal
         of hazardous waste. A parent’s actual participation in and control over a
         subsidiary’s functions and decision-making creates ‘operator’ liability under
         CERCLA; a parent’s mere oversight of a subsidiary’s business in a manner
         appropriate and consistent with the investment relationship between a parent and
         its wholly owned subsidiary does not.”

  Id. at 59 (emphases added) (quoting CPC Int’l, Inc. v. Aerojet–Gen. Corp., 777 F. Supp. 549, 572

  (W.D. Mich. 1991)).

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          The district court applied the “participation and control” test and determined that the parent

  entity was liable as an operator, because it exercised control over the subsidiary’s business by

  selecting its board of directors, populating its ranks with officials, and playing a significant role in

  shaping its environmental policy. Id. In addition to direct liability, it observed that the parent entity

  may also be subject to indirect or vicarious liability for the subsidiary’s actions if the corporate

  veil was pierced under state law. Id.

          The Sixth Circuit Court of Appeals reversed the district court in part, rejecting the direct-

  liability analysis (largely without explanation) and finding that piercing the corporate veil does not

  establish indirect liability. Id. at 59–60 (citing United States v. Cordova Chem. Co. of Mich., 59

  F.3d 584 (6th Cir. 1995)).

          The Supreme Court reversed the Sixth Circuit, finding that “the Court of Appeals correctly

  rejected the District Court’s analysis of direct liability” but “erred in limiting direct liability under

  the statute to a parent’s sole or joint venture operation.” Id. In this way, the Bestfoods Court

  rejected the “participation-and-control test” for determining direct liability as an operator under

  CERCLA. Id. at 68.

          That is, the Bestfoods Court found that the proper focus of direct operator liability is control

  over the polluting facilities’ operations. Id. at 67–68. The Bestfoods Court elaborated on the

  activities that might lead to operator liability:

           “[A]ctivities that involve the facility but which are consistent with the parent’s
           investor status, such as monitoring of the subsidiary’s performance, supervision of
           the subsidiary’s finance and capital budget decisions, and articulation of general
           policies and procedures, should not give rise to direct liability.” The critical
           question is whether, in degree and detail, actions directed to the facility by an
           agent of the parent alone are eccentric under accepted norms of parental oversight
           of a subsidiary’s facility.




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  Id. at 72 (emphasis added) (internal citation omitted). To elaborate, the Bestfoods Court clarified

  the definition of “operator”:

          So, under CERCLA, an operator is simply someone who directs the workings of,
          manages, or conducts the affairs of a facility. To sharpen the definition for purposes
          of CERCLA’s concern with environmental contamination, an operator must
          manage, direct, or conduct operations specifically related to pollution, that is,
          operations having to do with the leakage or disposal of hazardous waste, or
          decisions about compliance with environmental regulations.

  Id. at 66–67 (emphasis added). Indeed, the Court underscored that “Congress intended the verb

  “‘to operate’ . . . to contemplate ‘operation’ as including the exercise of direction over the facility’s

  activities.” Id. at 71. (emphasis added).

          In United States v. Township of Brighton (Brighton I), the Government brought an action

  against a township and property owner to recover response costs incurred from cleaning a

  dumpsite. 153 F.3d 307, 314 (6th Cir. 1998) (Boggs, C.J.). Brighton Township had contracted with

  the property owner to use his land as a dumpsite for township residents. Id. at 310. The district

  court found that both the property owner and township were liable as operators. Id. The Sixth

  Circuit vacated and remanded to the district court.

          Chief Judge Boggs noted that mere “authority to control” does not give rise to operator

  liability; instead, “actual control” is required. Id. at 313. Chief Judge Boggs elaborated that the

  plain meaning of the word “operator,” as set forth by the Bestfoods Court, applies regardless of

  whether the case involves a corporation or governmental entity. Id. at 313. Even though FMC

  predates Bestfoods, Chief Judge Boggs found FMC instructive in determining that “mere

  regulation does not render the Government liable, but actual operation (or ‘macromanagement’)

  does.” Id. at 316. Under that standard, Chief Judge Boggs concluded that it could not determine

  the township’s operator liability because:




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          [T]he agreement with Collett specified that the dump “meet the specifications of
          and be under the supervision of the Board of Appeals.” The township was not
          operating at arm’s length with a contractor. Rather, it made repeated and substantial
          ad hoc appropriations, and it made arrangements (including with the local Junior
          Fire Department) for bulldozing and other maintenance when Collett himself
          proved unequal to the task. It also took responsibility for ameliorating the
          unacceptable condition of the dump, before and after scrutiny from the state
          government, at least as early as 1965.

  Id. at 315 (footnote omitted).

          Judge Moore concurred that the “actual control” standard applied but noted that Chief

  Judge Boggs “fail[ed] to define this standard clearly so as to provide the lower courts with direct

  guidance as to when a governmental entity engages in regulatory activities extensive enough to

  make it an operator of the facility in question.” Id. at 325 (Moore, J., concurring in the result). By

  contrast, Judge Moore defined governmental “actual control” as “involvement [that] extends

  beyond ‘mere regulation’ and amounts to ‘substantial control,’ or ‘active involvement in the

  activities’ at the facility.” Id. at 325.

          Judge Dowd dissented, disagreeing with the idea “that a governmental entity should be

  held to a lower threshold level of control which would give rise to liability.”8 Id. at 332 (Dowd, J.,

  dissenting in part and concurring in part). Judge Dowd would have instead applied Bestfoods’s

  operator-liability standard “to both corporate form and the governmental entity situations.” Id.

  Notably, like Chief Judge Boggs, Judge Dowd found FMC instructive but determined that a

  governmental entity is liable as an operator only when it manages “the day-to-day activities of a

  facility.” Id. Under her standard, Judge Dowd would have found that the township was not an

  operator. Id.




  8
   Chief Judge Boggs explicitly stated that his “opinion should not be read to suggest, as Judge
  Dowd characterizes it, that a Governmental entity should be held to a lower threshold level of
  control.” Id. at 334 n.7 (Boggs, C.J.).
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         On remand, the district court again found that the township was an operator. On appeal,

  the same panel of the Sixth Circuit reversed the district court, again, because it did not apply any

  of Brighton I’s three standards. United States v. Twp. of Brighton (Brighton II), 282 F.3d 915, 917

  (6th Cir. 2002). Explaining Brighton I’s precedential value, the Brighton II court stated:

                 Brighton I produced three separate opinions but no majority opinion;
         despite the fragmented nature of the panel, however, Brighton I provided the district
         court with standards for defining “operator” liability under CERCLA and for
         determining whether the recovery costs incurred by the Government were divisible.
         Specifically, Judges Boggs and Moore agreed that [Bestfoods] provided the
         appropriate standard for determining whether Brighton Township was liable as an
         “operator” of the facility in question . . . .

  Id. at 918 (footnote omitted). Thus, Brighton II understands Brighton I to say that when

  determining the operator liability of either a governmental entity or a corporation, the court should

  apply Bestfoods’s “actual control” standard.

         Thirteen years later, Exxon Mobile brought an action against the Government to recover

  response costs incurred in connection with the operation of oil refineries during World War II.

  Exxon Mobil Corp. v. United States, 108 F. Supp. 3d 486 (S.D. Tex. 2015). On cross-motions for

  summary judgment, the Exxon court held, in relevant part, that the Government did not “operate”

  Exxon Mobil’s oil refineries under CERCLA. Id. at 521. To that end, the Exxon court interpreted

  Brighton I as inconsistent with Bestfoods. Id. at 522 (“The distinction that [Brighton I] drew

  between the government-entity and private-entity cases, applying the ‘regulation’ versus

  ‘macromanagement’ test only when a government entity is involved is not consistent with

  Bestfoods.”).

         The Exxon court also found that Bestfoods rejected FMC’s “actual control” test as

  overbroad. See id. at 527–27. In reaching that conclusion, the Exxon court surveyed three decisions

  from other circuits that “recognized that FMC’s test is unhelpful after Bestfoods.” See id. at 521



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  (citing Lockheed Martin Corp. v. United States, 35 F. Supp. 3d 92, 149 (D.D.C. 2014) (finding

  that the Government was not an operator of rocket-motor production facilities; observing that

  “FMC’s ‘substantial control’ test is in tension with Bestfoods’s focus on a party’s particularized

  control over hazardous waste disposal processes”; and declining to opine as to whether FMC

  remains good law), aff’d, 833 F.3d 225 (D.C. Cir. 2016)); Id. (citing Miami-Dade Cnty. v. United

  States, 345 F. Supp. 2d 1319, 1342 (S.D. Fla. 2004) (finding that the Government was not an

  operator of an airport and that “FMC is inconsistent with Bestfoods”)); Id. (citing Steadfast Ins. v.

  United States, 2009 WL 3785565, at *8 (C.D. Cal. Nov. 10, 2009) (mentioning FMC’s standard

  yet ultimately basing its holding on Bestfoods’s requirement that an operator “manage, direct, or

  conduct, operations specifically related to pollution” and concluding that the Government was not

  an operator of former explosive-material manufacturing sites)).

         Applying Bestfoods, the Exxon court found that the Government engaged in “procurement

  activities” but did not “manage, direct, or conduct . . . operations having to do with leakage or

  disposal of hazardous waste, or decisions about compliance with environmental regulations.” Id.

  at 523. In this way, the Exxon court narrowed Bestfoods to require a “direct nexus between the

  Government’s activities and the decisions in the refineries’ waste leakage, disposal, or

  environmental compliance,” and it found that no such nexus was present. Id. at 524.

                                                   B.

         Bestfoods did not elaborate on the meaning of operations “specifically related to pollution”

  or operations “having to do with leakage or disposal of hazardous waste.” See generally United

  States v. Bestfoods, 524 U.S. 51 (1998). But Brighton I provided some guidance. See Brighton II,

  282 F.3d 915, 918 (6th Cir. 2002) (“Brighton I produced three separate opinions but no majority

  opinion.”). Chief Judge Boggs found FMC’s “actual control test” instructive and determined that



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  a governmental entity can be liable as an operator through “actual operation” or

  “macromanagement.” Brighton I, 153 F.3d at 316 (Boggs, C.J.). By contrast, Judge Moore defined

  “actual control” as “involvement [that] extends beyond ‘mere regulation’ and amounts to

  ‘substantial control,’ or ‘active involvement in the activities’ at the facility.” Id. at 325 (Moore, J.,

  concurring in the result). And Judge Dowd restricted “actual control” to when an entity manages

  “the day-to-day activities of a facility.” Id. at 332–35 (Dowd, J., dissenting in part and concurring

  in part). In this way, all three judges found FMC to be consistent with Bestfoods.

          This Court previously found that FMC is “quite factually analogous” to this case. MRP

  Props., 308 F. Supp. 3d at 929–30. The FMC court considered whether the Government exercised

  “actual and substantial control over the corporation’s day-to-day operations and its policy making

  decisions.” FMC Corp., 29 F.3d at 843. In finding the Government liable, the FMC court

  principally relied on four “leading indicia of control”: the Government’s control over the “product

  the facility would produce, the level of production, the price of the product, and to whom the

  product would be sold.” Id. Similarly, Plaintiffs have principally relied on FMC’s four “leading

  indicia of control” but have also invoked a litany of other factors courts have considered.

  Incidentally, this Court finds Judge Boggs’s reliance on FMC to be consistent with Bestfoods, as

  it is most consistent with CERCLA’s broad remedial purpose. Consequently, Exxon, upon which

  the Government principally relies, is not instructive. See MRP Props., 308 F. Supp. 3d at 930–34.

          Indeed, Bestfoods did not explicitly disturb FMC’s holding. Rather, Bestfoods

  “sharpen[ed]” the definition of an “operator” for CERLCA purposes by broadening the “actual

  control” inquiry to include control over “operations having to do with leakage or disposal of

  hazardous waste, or decisions about compliance with environmental regulations.” Bestfoods, 524

  U.S. 51 at 61 (emphasis added). Bestfoods did not redefine “operator” to render operator liability



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  indistinguishable from arranger liability9 and, therefore, inconsistent with CERCLA’s text and

  remedial purpose. Contra Exxon Mobil, 108 F. Supp. 3d at 521.

            Contrary to the Exxon court’s reading, Bestfoods’s definition of “operator” must not be

  read in a vacuum. Id. at 520 (“A court must decide whether a contractor is an operator after

  considering the totality of the circumstances concerning its involvement at the site.”); accord

  United States v. Sterling Centrecorp Inc., 977 F.3d 750, 757 (9th Cir. 2020) (holding that operator

  liability “may be inferred from the totality of the circumstances”); Brighton I, 153 F.3d at 326

  (Moore, J., concurring in the result) (stating that operator liability “requires a fact-intensive inquiry

  and consideration of the totality of circumstances”). Instead, Bestfoods’s definition of “operator”

  should be read in the context of its considerations regarding operator liability:

            The question is not whether the parent operates the subsidiary, but rather whether
            it operates the facility, and that operation is evidenced by participation in the
            activities of the facility, not the subsidiary.
                    ....
                    . . . The critical question is whether, in degree and detail, actions directed to
            the facility by an agent of the parent alone are eccentric under accepted norms of
            parental oversight of a subsidiary’s facility.

  Bestfoods, 524 U.S. at 68–72 (cleaned up). In other words, the operator-liability standard is broader

  than the Exxon court construed it.

            CERCLA’s text supports that conclusion. First, CERCLA operator liability applies to “any

  person.” 42 U.S.C. § 9607(a)(2). Congress has defined “person” to connote more than human



  9
      Arranger liability is the third type of liability available under § 107(a)(3) and attaches to:

            [A]ny person who by contract, agreement, or otherwise arranged for disposal or
            treatment, or arranged with a transporter for transport for disposal or treatment, of
            hazardous substances owned or possessed by such person, by any other party or
            entity, at any facility or incineration vessel owned or operated by another party or
            entity and containing such hazardous substances.

  42 U.S.C. § 9607(a)(3) (2018).
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  beings and include governmental entities. See Dictionary Act, 1 U.S.C. § 1 (defining “person” to

  include inanimate entities). Further, all CERCLA’s textual references to contractual relationships

  are expansive. See 42 U.S.C. § 9607(a)(3) (applying arranger liability to those who arranged for

  waste disposal “by contract, agreement, or otherwise”); id. § 9607(b)(3) (excluding from

  CERCLA’s third-party defense those “whose act or omission occurs in connection with a

  contractual relationship, existing directly or indirectly, with the defendant” (emphasis added)); id.

  § 9607(n)(8)(B) (expressly allowing claims against an “independent contractor retained by a

  fiduciary” despite the statute’s fiduciary damage cap); id. § 9607(q)(1)(A)(ii)(I) (creating strict

  liability for owners of property that others’ property polluted if they were in a contractual

  relationship that was not only for goods or services).

         Construing CERCLA liability broadly makes sense because the more PRPs, the more likely

  they will clean the site, which cosigns CERCLA’s priority of cleanliness over godliness. See

  United States v. Atl. Rsch. Corp., 551 U.S. 128, 136 (2007) (“Moreover, [CERCLA] defines PRPs

  so broadly as to sweep in virtually all persons likely to incur cleanup costs.”); Jacob Podell, Note,

  Resolving “Resolved”: Covenants Not to Sue and the Availability of CERCLA Contribution

  Actions, 119 MICH. L. REV. 205, 207 (2020) (“CERCLA created a complicated structure designed

  to effect two goals: (1) make sure hazardous-waste sites are cleaned up in a timely manner and (2)

  make those who caused the contamination pay for the cleanup.”); see also Brighton I, 153 F.3d at

  315 n.10 (noting “the passive and expansive language of” 42 U.S.C. § 9607(a)(2)).

         Unfortunately, CERLCA’s “legislative history is, at best, messy.” Podell, supra, at 207;

  see Carson Harbor Vill., Ltd. v. Unocal Corp., 270 F.3d 863, 885 (9th Cir. 2001) (en banc) (“Any

  inquiry into CERCLA’s legislative history is somewhat of a snark hunt.”). See generally Frank P.

  Grad, A Legislative History of the Comprehensive Environmental Response, Compensation and



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  Liability (“Superfund”) Act of 1980, 8 COLUM. J. ENV’T L. 1 (1982) (discussing comprehensively

  CERCLA’s legislative history). But even a cursory review demonstrates Congress was

  predominantly concerned with “the long-term dangers inherent in the manufacture and use of

  hazardous and toxic substances.” E.g., 125 CONG. REC. S15,003 (daily ed. Nov. 29, 1980)

  (statement of Sen. Patrick Leahy); see also H.R. REP. NO. 96-1016, pt. 1, at 22 (1980), reprinted

  in 1980 U.S.C.C.A.N. 6119, 6125 (“It is the intent of the Committee in [CERCLA] to initiate and

  establish a comprehensive response and financing mechanism to abate and control the vast

  problems associated with abandoned and inactive hazardous waste disposal sites.”).

         Broad applicability seems even more persuasive considering, among other things,10 the

  bifurcated nature of CERCLA proceedings: phase one merely determines whether a party is liable

  to any extent; phase two determines the extent of any liability—much like the damages scheme

  for comparative negligence. Therefore, after this Order (phase one), the parties’ respective degrees

  of culpability will still have to be determined (phase two).

         The Government relies on two CERCLA cases that have emerged since the last Order in

  this case. First, the Government relies on PPG Industries, Inc. v. United States, in which the owner

  of a chromite-ore processing plant sued the Government under CERCLA to recover response costs.

  957 F.3d 395 (3d Cir. 2020). The PPG court held that FMC was consistent with Bestfoods. Id. at

  402 (“In sum, consistent with FMC, the Bestfoods standard (1) focuses on the relationship between

  the purported operator and the facility at issue; and (2) further focuses on ‘operations specifically

  related to pollution.’” (quoting Bestfoods, 524 U.S. at 66)). The PPG court elaborated that:

         Bestfoods did not address when the government can be held liable as an operator,
         [but] this distinction is irrelevant. At no point, regardless of how the test was


  10
    See Jacob Podell, Note, Resolving “Resolved”: Covenants Not to Sue and the Availability of
  CERCLA Contribution Actions, 119 MICH. L. REV. 205, 210–11 (2020) (outlining CERCLA’s five
  sweeping mechanisms to ensure polluted sites are cleaned).
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          formulated, has any court said that the test for determining operator liability should
          be different depending on whether the potentially responsible party is the
          government, a parent or subsidiary, or some other type of corporation. Thus, the
          Bestfoods operator definition is not limited to the parent-subsidiary context and
          applies when the question is whether the government can be held liable as an
          operator.

  Id. (internal citations and footnote omitted). Thus, under PPG the Government is as subject to

  CERCLA as private companies.

          Second, the Government relies on United States v. Sterling Centrecorp Inc., in which a

  corporation filed a CERCLA contribution suit against the Government for its role in operating a

  mine during World War II. 977 F.3d 750 (9th Cir. Oct. 5, 2020). The Sterling court reiterated that

  “an operator’s relationship to the facility at issue must, at least in part, focus on ‘operations

  specifically related to pollution.’” Id. at 758 (quoting Bestfoods, 524 U.S. at 66). The Sterling court

  concluded that “operator liability requires . . . . some level of direction, management, or control

  over the facility’s polluting activities.” Id. at 758 (emphasis added). Thus, under Sterling, the

  Government’s must have managed, directed, controlled, or conducted some activity that

  contributed to the facility’s pollution.

          Therefore, the Government will be liable as an “operator” if, to any extent, it managed,

  directed, controlled, or conducted any of the facility’s activities that produced “pollution.”

                                                    C.

          At issue here is whether PAW exercised sufficient control over 12 petroleum refineries.

  All 12 refineries responded to the Government’s directives in different ways. But one thing was

  clear: if they defied the Government’s directives, they faced dire repercussions. Indeed, the record

  contains no evidence of a refinery opposing a governmental directive without facing repercussion

  or receiving an exception. Therefore, it would not be reasonable to infer that the Government did

  not have enough management, direction, or control over the refineries’ pollution-producing

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  operations to be considered an “operator.” Yet before delving into that discussion, two points

  deserve elaboration.

                                                   i.

         First, some courts seemingly absolve the Government from CERCLA recovery costs owing

  to a voluntary contractual relationship. See, e.g., Exxon, 108 F. Supp. 3d at 523 (“The government

  ‘played the role of a very interested consumer’ in its wartime contracts with suppliers, including

  Exxon’s predecessors. But the contracts gave [them] bargaining power.” (citing United States v.

  Iron Mountain Mines, Inc., 987 F. Supp. 1277, 1284 n.14 (E.D. Cal. 1997)); Rospatch Jessco Corp.

  v. Chrysler Corp., 962 F. Supp. 998, 1005 (W.D. Mich. 1995), as amended (Aug. 11, 1995)

  (finding that the Government did not get involved in the contractor’s “management of its

  operations” or “management decisions” and that the contractor was not forced into doing the work

  but rather had “sought out such work”).

         But in the context of the defense market, that deference misapplies the “actual control”

  standard. Although it might not render the Government an “operator” of the other party’s polluting

  activities, the mere existence of a contractual relationship does not absolve the Government of

  operator liability. See, e.g., Lockheed, 35 F. Supp. 3d at 132 (finding it “impossible” to allocate

  the parties’ respective operator liability without considering “the extent of the government’s

  involvement,” because the contamination stemmed from “government contracts”); Brighton I, 153

  F.3d at 315 (“The township was not operating at arm’s length with a contractor.”); FMC, 29 F.3d

  at 837 (“Under its contract with Rust, the government had substantial control over and participation

  in the work related to the DPC equipment.”); see also Bestfoods, 524 U.S. at 57 n.5 (affirming

  Michigan Court of Appeals’s determination that CERCLA liability may be precluded by a




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  contract’s indemnification provision). As indicated, even with a voluntary contractual relationship,

  the Government could be an operator.

         CERCLA’s operator-liability inquiry is straightforward: Based on the totality of the

  circumstances, did the Government—to any extent—manage, direct, control, or conduct any of

  the facility’s activities that produced pollution? The WWII defense industry, then, is a relevant

  consideration among the totality of the circumstances.

         A “monopsony” is a market situation in which there is only “one buyer.” WEBSTER’S THIRD

  NEW INTERNATIONAL DICTIONARY (1993) (emphasis added). And “[t]here is only one military

  customer that matters, the government, and thus the defense market has the characteristics of a

  monopsony.” Loren Thompson, Five Factors That Should Drive the FTC’s Assessment of a

  Lockheed-Aerojet         Merger,       FORBES         (Sept.      7,       2021,       9:41       AM),

  https://www.forbes.com/sites/lorenthompson/2021/09/07/five-factors-that-should-drive-the-ftcs-

  assessment-of-a-lockheed-aerojet-merger/?sh=5527e8d7c0b8            [https://perma.cc/HK3H-ADYL].

  Therefore, when it comes to wartime products, the Government innately has “the power to set

  wages below competitive levels” and the “power to exact an unequal distribution of the

  relationship-specific surplus.” See Hiba Hafiz, Structural Labor Rights, 119 MICH. L. REV. 651,

  653 (2021). So, defense contracts are products of the Government’s monopsony power over the

  wartime market.

         Because of its immense defense-market power, voluntary contracts cannot weigh against

  the Government’s operator liability. Indeed, a private actor’s voluntary contractual relationship

  with the Government does not immunize the Government from operator liability. See 42 U.S.C. §

  9607(q)(1)(A)(ii)(I) (creating strict liability for owners of contiguous property that others’ property

  polluted if they were in a contractual relationship not solely for goods or services); cf. United States



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  v. Souza, 223 F.3d 1197 (10th Cir. 2000) (considering a private party that the Government

  encouraged and assisted to be an agent of the Government); United States v. Walther, 652 F.2d

  788, 792 (9th Cir. 1981) (applying Fourth Amendment to private citizens who voluntarily assist

  the Government). In other words, a contract giving the Government discretion to operate a facility

  does not mean the Government did not “operate” the facility.

         In this way, a defense-market contract not within CERCLA’s defenses, if anything, is

  weightless. But in light of the command to draw all reasonable inferences in favor of the

  nonmovant, this Court assumes that the voluntary relationship between the parties weighs against

  CERCLA liability.

                                                  ii.

         Second, some courts have granted the Government a higher degree of discretion owing to

  wartime conditions. Donald M. Carley, Note, Environmental Law—The Federal Government Must

  Share in the Pain of CERCLA Cleanup Costs—FMC Corp. v. United States Department of

  Commerce, 29 F.3d 833 (3d Cir. 1994)., 14 TEMP. ENV’T L. & TECH. J. 93, 113 (1995) (noting

  “some may argue that the government . . . was simply attempting to mobilize the United State[s’s]

  war machine”); see, e.g., Exxon, 108 F. Supp. 3d at 523 (“The federal government’s wartime

  influence over these refineries stemmed from its voluntary contractual relationships with Exxon’s

  predecessors.”); Rospatch, 962 F. Supp. at 1005–06 (holding the government was not an operator

  when it did not “twist [the] arm” of contractor to produce wartime materials); cf. Tricia R. Russo,

  FMC Corp. v. United States Department of Commerce: An Overexpansion of “Operator” Liability

  Under CERCLA, 7 VILL. ENV’T L.J. 157, 179 (1996) (arguing “the costs of cleanup should be

  internalized through the [private] company” to preserve sovereign immunity).




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         But that conclusion misunderstands the goings-on of war. See Christopher J. Plaisted, Note,

  Environmental Law—Too Much of a Good Thing: When Government Involvement in Waste

  Disposal Crosses the Line Between Regulating and “Operating” Under CERCLA, 22 W. NEW

  ENG. L. REV. 221, 261 (2000) (“[I]t is common for government involvement in the waste disposal

  process to be predicated upon the responsibilities the government actor bears as the sovereign.”).

  The United States Government does not pass the “actual control” test by exercising more control

  than it otherwise would have without war. See FMC, 29 F.3d at 840. Indeed, the United States has

  been “at war” for about 230 years of its 245-year existence.11

         Granted, during war the Government and all those who assist it are literally up in arms,

  conducting 24-hour operations with the haste of Hermes. But after the dust settles, the

  Government, like those who assisted it, must collect its dead and, similarly, share in the costs to

  clean up the messes that it managed, directed, controlled, or conducted. See Bestfoods, 524 U.S. at

  66; Brighton I, 153 F.3d at 314; MRP Props., 308 F. Supp. 3d at 922. That is CERCLA’s mandate.

  And nothing in its text says otherwise.

         Recall that Congress intended CERCLA to apply broadly. See United States v. Atl. Rsch.

  Corp., 551 U.S. 128, 136 (2007). The more potentially liable parties, the more likely the disposal

  site would be cleaned. See discussion supra Section II.B (discussing CERLCA’s priority of

  “cleanliness over godliness”). And by construing liability to cover any management, direction, or

  control “having to do with” a facility’s pollution, the Supreme Court interpreted CERCLA’s text




  11
     Martin Kelly, American Involvement in Wars from Colonial Times to the Present: Wars from
  1675 to the Present Day, THOUGHTCO (Nov. 4, 2020), https://www.thoughtco.com/american-
  involvement-wars-colonial-times-present-4059761 [https://perma.cc/PE8P-VLYN]; Sabir Shah,
  The US Has Been at War 225 out of 243 Years Since 1776, NEWS INT’L (Jan. 9, 2020),
  https://www.thenews.com.pk/print/595752-the-us-has-been-at-war-225-out-of-243-years-since-
  1776 [https://perma.cc/EM82-H3U].
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  broadly to include any reasonable inference of influence over any of a facility’s polluting activities.

  See Bestfoods, 524 U.S. at 66.

         Therefore, wartime control, which is among the most powerful in existence, either

  increases the Government’s likelihood of operator liability or is irrelevant. See Carley, supra, at

  113 (“In reality, the government is the only proper party to pay for past pollution, especially when

  it was caused in connection with the United State’s war effort during World War II.”); cf. Ex parte

  Milligan, 71 U.S. 2, 120–21 (1866) (“The Constitution of the United States is a law for rulers and

  people, equally in war and in peace, and covers with the shield of its protection all classes . . ., at

  all times and under all circumstances.” (emphases added)).

         In the sovereign’s interest, this Court assumes that wartime control is irrelevant. See Mones

  v. Com. Bank of Kuwait, S.A.K., No. 18 MISC. 0302(SAS), 2007 WL 2815626, at *1 (S.D.N.Y.

  Sept. 25, 2007) (“[A] court in the United States must balance the interests of its citizens in pursuing

  litigation against the interests of a sovereign state, and that balance tips in favor of deference to

  the sovereign state.”); id. at 932 n.5 (“The idea of comity-of treating sovereigns . . . with greater

  respect than other litigants counsels us to exercise forbearance in construing legislation to intrude

  upon the central regulatory functions of a sovereign entity.”).

                                                   III.

         Plaintiffs claim that the Government operated eight refineries in District Two (“the Eight”):

  Leonard’s refinery in Alma, Michigan (“Leonard”); Mid-West’s refinery in Alma, Michigan

  (“Mid-West”); Bell Oil/Ben Franklin’s refinery in Ardmore, Oklahoma (“Bell”); Kanotex’s

  refinery in Arkansas City, Kansas (“Kanotex”); Worth’s refinery in Blue Island, Illinois

  (“Worth”); Delta’s refinery in Memphis, Tennessee (“Delta”); Roosevelt’s Oil refinery in Mount

  Pleasant, Michigan (“Roosevelt”); and Vickers’s refinery in Potwin, Kansas (“Vickers”).



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                                                  A.

         According to Plaintiffs, the Government required the Eight to convert equipment and

  operations, including production methods, to make WWII petroleum products.12 Further, the

  Government dictated the “kind and quantity” of the Eight’s petroleum products through, for

  example, “enumerated temperature specifications” and a maximum “octane number” for

  manufacturing gasoline.13 And the Government controlled and adjusted the “amount, source, and

  price” of the Eight’s raw materials.14 Moreover, the Government controlled the sales price and

  purchasers of the Eight’s petroleum products.15 The Government also required approval of

  Leonard’s employee’s salaries and bonuses and conducted on-site safety inspections at seven of

  the Eight related to waste.16 Finally, Plaintiffs contend that the Government’s involvement in the

  Eight’s operations affected “pollution and the disposal of hazardous substances” because directives

  affecting production and yields of petroleum affected waste streams.17

                                                  B.




  12
     ECF No. 68-2 at PageID.1135 (Leonard); id. at PageID.1140 (Mid-West); id. at PageID.1144–
  45 (Bell); id. at PageID.1148 (Kanotex); id. at PageID.1151–52 (Worth); id. at PageID.1156–57
  (Delta); id. at PageID.1160 (Roosevelt); id. at PageID.1164 (Vickers).
  13
      ECF No. 68-2 at PageID.1135–36 (Leonard); id. at PageID.1140–41 (Midwest); id. at
  PageID.1145 (Bell); id. at PageID.1148–49 (Kanotex); id. at PageID.1152–53 (Worth); id. at
  PageID.1157 (Delta); id. at PageID.1160–61 (Roosevelt); id. at PageID.1164–65 (Vickers).
  14
      ECF No. 68-2 at PageID.1136 (Leonard); id. at PageID.1141–42 (Mid-West); id. at
  PageID.1145–46 (Bell); id. at PageID.1149 (Kanotex); id. at PageID.1153–54 (Worth); id. at
  PageID.1157–58 (Delta); id. at PageID.1161–62 (Roosevelt); id. at PageID.1165–66 (Vickers).
  15
     ECF No. 68-2 at PageID.1137 (Leonard); id. at PageID.1142 (Mid-West); id. at PageID.1146
  (Bell); id. at PageID.1149–50 (Kanotex); id. at PageID.1154 (Worth); id. at PageID.1158 (Delta);
  id. at PageID.1162 (Roosevelt); id. at PageID.1166 (Vickers).
  16
      ECF No. 68-2 at PageID.1138 (Leonard); id. at PageID.1142–44 (Mid-West); id. at
  PageID.1146–47 (Bell); id. at PageID.1154–55 (Worth); id. at PageID.1158–59 (Delta); id. at
  PageID.1162 (Roosevelt); id. at PageID.1166–67 (Vickers).
  17
      ECF No. 68-2 at PageID.1138–39 (Leonard); id. at PageID.1143–44 (Mid-West); id. at
  PageID.1147–48 (Bell); id. at PageID.1150–51 (Kanotex); id. at PageID.1155–56 (Worth); id. at
  PageID.1158–59 (Delta); id. at PageID.1162–63 (Roosevelt); id. at PageID.1167–69 (Vickers).
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         The Government’s arguments regarding the Eight vary by refinery.

                                                  i.

         According to the Government, Leonard, “[l]ike other District Two refineries,” experienced

  a shortage of crude oil. ECF No. 81-2 at PageID.7793. Because of that shortage, Leonard sought

  and secured contracts with the Government to process crude oil for WWII. Id. at PageID.7794.

  Accordingly, Leonard sought and received “the necessary equipment to co[n]vert” its production

  facilities from the Government. Id. The Government characterizes its relationship with Leonard as

  a voluntary contractual relationship, in which Leonard would make suggestions to PAW and vice

  versa. See id. at PageID.7795–96. Further, the Government claims that Leonard processed “sweet

  crude oil” but not “sour.” Id. at PageID.7796. The Government also notes its approval for Leonard

  to build a machine to “produce high-octane avgas for the war effort.” Id. And the Government

  contends that, though it inspected Leonard’s refinery “for security and safety,” it did not have

  sufficient control over Leonard because it approved the salaries of only “key employees.” Id. at

  PageID.7797.

                                                  ii.

         According to the Government, it approved Mid-Wests’s “proposal to produce codimer.”

  ECF No. 81-2 at PageID.7798. The Government claims it “directed” Mid-West to sell its products

  to a refinery that could not use them, leaving the details of the “arrangement” to Mid-West. Id. at

  PageID.7800–01. The Government states that it frequently required Mid-West to “promptly”

  inform the Government about its petroleum production capacity. Id. at PageID.7801. The

  Government also notes that it denied Mid-West’s requests for more crude. Id. at PageID.7802–03.

  The Government indicates that Mid-West stated it was “not following [one] directive,” because it

  was physically impossible to comply. Id. at PageID.7803. The Government also recounts a letter



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  in which Mid-West expressed its dismay about not receiving more sour crude because it “made

  extensive improvements” based on the Government’s directives. See id. at PageID.7803–04. The

  Government admits to inspecting Mid-West for “security and safety.” Id. at PageID.7804. Finally,

  the Government discusses two other contracts it entered with Mid-West for war-time production,

  from which Mid-West profited. Id.

                                                    iii.

         According to the Government, it solicited Bell to produce petroleum products, and Bell

  “was eager.” ECF No. 81-2 at PageID.7809. The Government also suggests that it granted Bell

  permission to “modify its refining equipment” at its own expense to produce petroleum products

  for the Government. Id. at PageID.7810–11. Further, the Government mentions two negotiated

  contracts through which it paid Bell for the products. Id. at PageID.7810. And the Government

  explains that it had ultimate approval authority over the sales prices of such products, which it later

  audited. Id. at PageID.7810–11, 7812. The Government also acknowledges that Bell “cooperated”

  with the Government’s directive to maximize crude production. Id. at PageID.7812–13. Moreover,

  the Government notes that it approved Bell’s requests to receive more crude, share its crude with

  another Bell-owned refinery, and process more crude to compensate for underproduction. Id. at

  PageID.7813–14. Ultimately, the Government characterizes its directives to Bell as “not . . .

  coercive dictates.” Id. at PageID.7814.

                                                    iv.

         According to the Government, Kanotex “sought” to produce petroleum products for WWII.

  ECF No. 81-2 at PageID.7823. The Government also claims that Kanotex did not interpret PAW’s

  directives as “coercive” and bragged about already meeting the requirements of one such directive.

  Id. at PageID.7823–24, 7826. Further, the Government mentions that it granted Kanotex an



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  exception to a directive to conserve natural gas. Id. at PageID.7824. And the Government claims

  that PAW “did not manage Kanotex’s operations” because it merely “suggested” that Kanotex

  change its production output. Id. Moreover, the Government admits that it required Kanotex to

  comply with “new gasoline specifications,” for which the Government granted Kanotex “a thirty-

  day extension.” Id. at PageID.7825. The Government also discusses a conversation in which

  Kanotex “acknowledged” PAW’s crude production requirements. Id. at PageID.7826. And the

  Government notes that Kanotex provided more petroleum products than their contract required.

  Id. at PageID.7825–26. Finally, the Government reveals that it inspected Kanotex “on at least three

  occasions.” Id. at PageID.7827.

                                                   v.

         According to the Government, Worth produced the same products before and during

  WWII. ECF No. 81-2 at PageID.7828. The Government asserts that it considered letting Worth

  close after it asked the Government to make other refineries send it crude. Id. at PageID.7828–29.

  The Government also states that it found a producer to send Worth “90,000 barrels of crude oil”

  but was not “involved in . . . the sale.” Id. at PageID.7829–30. And the Government says that its

  “assistance was temporary” and Worth eventually closed “due to a lack of crude oil.” Id. at

  PageID.7830. Further, the Government reveals a letter from PAW’s chief counsel, J. Howard

  Marshall, discussing PAW’s “statutory authority” to require “one man to sell . . . crude oil [] to

  another . . . where it clearly appears that such action is necessary for the prosecution of the war.”

  Id. at PageID.7831. Moreover, the Government claims both that Worth’s participation was

  “voluntary” and that Worth’s processing of sour crude did not lead to hazardous waste spills. Id.

  Finally, the Government asserts that “PAW’s directives did not materially change the product

  specifications of Worth’s [petroleum products].” Id. at PageID.7833.



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                                                  vi.

         According to the Government, Delta “intend[ed] to cooperate in every possible way.” ECF

  No. 81-2 at PageID.7818. The Government characterizes its relationship with Delta as an “arm’s-

  length” contract. Id. The Government claims that Delta complied with several directives that often

  “had no effect on Delta’s operations.” Id. at PageID.7819. The Government also explains that it

  required Delta to use less crude, after which a Tennessee Senator “intervened on Delta’s behalf”

  to convince the Government to grant Delta permission to obtain and process more crude. Id. at

  PageID.7820. The Government later granted a second increase. Id. at PageID.7821. Moreover, the

  Government states that it increased the price Delta had to pay for crude while prohibiting Delta

  from raising its sales prices, which Delta said would make it “impossible” to stay in business. See

  id. at PageID.7821. The Government also acknowledges that Delta “had been operating at a loss”

  because of the price the Government mandated and Delta’s high operation costs. Id. at

  PageID.7821–22. Finally, the Government claims it “lacked detailed knowledge” of Delta’s

  operations, noting the Government’s months-long ignorance of a destructive fire. Id. at 7822.

                                                 vii.

         According to the Government, “there is no evidence that Roosevelt produced critical war

  products.” ECF No. 81-2 at PageID.7805. But the Government points out that its petroleum-

  production directives to Roosevelt “required the company to shut down its cracking unit.” Id. The

  Government also notes that Roosevelt “sought [its] assistance to acquire materials” to meet the

  Government’s directives. Id. at PageID.7806. Further, the Government asserts that it gave

  Roosevelt “the opportunity to present [its] case” after Roosevelt requested steady crude shipments

  because it feared not meeting the Government’s need. Id. The Government also indicates that

  Roosevelt griped that it would have received more crude if it had fewer private contracts. Id. at



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  PageID.7807. And the Government admits to investigating Roosevelt’s claimed need, for which

  the Government allotted more crude. Id. at PageID.7807. The Government also discusses it

  contract with Roosevelt to produce petroleum products. Id. at PageID.7808. Finally, the

  Government admits to at least three inspections of and four recommendations to Roosevelt. Id.

                                                  viii.

         According to the Government, Vickers produced petroleum products for WWII. ECF No.

  81-2 at PageID.7815. The Government also notes that it gave Vickers permission to “alter its

  equipment to produce codimer,” and later sought information on Vickers’s progress. Id. at

  PageID.7815–16. Further, the Government acknowledges auditing Vickers’s costs before

  approving its sales price for codimer. Id. at PageID.7816. Moreover, the Government explains that

  after Vickers recovered its conversion costs, the Government “re-negotiated” and ultimately

  lowered the sales prices of Vickers’s codimer. Id. at PageID.7816–17. Finally, the Government

  mentions that Vickers “touted its participation in the war,” had “little thought of personal benefit,”

  and “praised” the Government. Id. at PageID.7817–18.

                                                   C.

         Plaintiffs have demonstrated that there is no genuine issue of material fact regarding

  whether the Government was one of each of the Eight’s “operators.” Construing the facts in the

  light most favorable to the Government, this Court finds that, based on the totality of the

  circumstances, every reasonable juror would conclude that the Government operated each of the

  Eight to some extent.

         Under CERCLA, “an operator is simply someone who directs the workings of, manages,

  or conducts the affairs of a facility.” United States v. Bestfoods, 524 U.S. 51, 66 (1998). More

  sharply, an operator must have “manage[d], direct[ed], or conduct[ed] operations specifically



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  related to pollution.” Id. Therefore, the Government operated Leonard if, based on “a fact-intensive

  inquiry and consideration of the totality of the circumstances,” it exercised some extent of

  management, direction, or control leading Leonard to take affirmative acts that anyway affected

  “leakage or disposal of hazardous waste.” Id.; Brighton I, 153 F.3d at 326. Accordingly, the

  Government needs to be merely one operator, not the operator. See Brighton I, 153 F.3d at 318–

  19 (distinguishing “the divisibility defense to joint and several liability from the equitable

  allocation principles available under CERCLA’s contribution provision”).

         In FMC, the Third Circuit held that the “leading indicia of control” in finding operator

  liability were whether the Government determined (1) the product the facility could produce; (2)

  the level of production; (3) the products’ price; and (4) to whom the product could be sold. FMC,

  29 F.3d at 843; see also PPG, 957 F.3d at 403 (considering factors three and four); Steadfast, 2009

  WL 3785565, at *6 (same).

         The record comprises over 11,500 pages replete with communications between the Eight

  and the Government that, if viewed in isolation, might be interpreted as either cooperative or

  coercive. But in viewing the record as a whole, no reasonable juror could disagree that the

  Government exercised all four of FMC’s four leading indicia of control over Leonard, Mid-West,

  Bell, Kanotex, Delta, Roosevelt, and Vickers and three of four over Worth.

         The record indicates that the Government dictated which petroleum products the Eight

  could produce. See, e.g., ECF No. 74-21 at PageID.5072 (“I hereby direct that you shall not

  manufacture or blend any civilian gasoline except such as will conform to the following . . . .”);

  see also ECF Nos. 74-40; 75-1 (Leonard, Delta, and Roosevelt); 75-14 (Mid-West); 75-16; 77-19.

  The Government also repeatedly determined the Eight’s production levels (i.e., yields). See, e.g.,

  ECF No. 74-50 at PageID.5942 (“Therefore, effective immediately and until further advised you



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  are hereby directed to increase the percentage yields of motor gasoline . . . and of distillate fuels .

  . . based on crude input . . . at your . . . refinery(ies).”); see also ECF Nos. 74-21; 74-42; 74-49;

  74-50 (Leonard, Kanotex, and Delta); 75-1 (Leonard, Delta, and Roosevelt); 75-2 (Leonard,

  Kanotex, Delta, and Roosevelt); 75-3 (Leonard); 75-14 (Mid-West); 75-16; 75-43 (Bell); 75-50;

  76-1 (Bell, Kanotex, and Vickers); 77-19. Moreover, the Government decided to whom the Eight

  could sell petroleum products. See ECF No. 74-21 at PageID.5072 (“TYPES A, B, AND C [motor

  fuel] SHALL BE MARKETED IN SUCH LOCALITIES AND DURING SUCH SEASONS AS

  ARE INDICATED . . . IN US ARMY SPECIFICATION 2-114.” (emphasis added)); see also ECF

  Nos. 75-14 (Mid-West); 75-15 (Mid-West); 75-41 (Bell); 75-43 (Bell); 76-2 (Kanotex). Further,

  the Government controlled the product prices for the Eight minus Worth. See ECF Nos. 75-4

  (Leonard); 75-28 (Mid-West); 75-41 (Bell); 75-42 (Bell); 75-45 (Kanotex); 76-2 (Kanotex); 76-

  18 (Delta); 82-16 (Leonard); 82-28 (Mid-West); 83-4 (Roosevelt); 83-14 (Bell); 83-15 (Bell); 83-

  32 (Vickers); 83-36 (Vickers).

         Plus, the Government publicly declared its control over the petroleum refineries and their

  employees; seized at least one other petroleum refinery; conducted hourly militaristic inspections

  of nearly every aspect of the petroleum refineries; determined and adjusted the petroleum

  concentration of the Eight’s petroleum products, which inherently affected pollution levels; and

  was aware that processing petroleum created such waste. In sum, among other factors from

  operator-liability cases that suggest the Government exercised actual and substantial management,

  direction, or control over a refinery’s pollution-producing operations to some extent, 26 factors are

  present regarding Leonard; 25 regarding Bell; 24 regarding Mid-West; 23 regarding Kanotex,




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  Delta, Roosevelt, and Vickers; and 22 regarding Worth.18 Therefore, no reasonable juror could

  find that the extent of the Government’s management, direction, and control over the Eight had

  nothing “to do with” the amount of waste they produced. See Bestfoods, 524 U.S. at 66.



  18
     First, the Government required the Eight to process different petroleum products. See FMC, 29
  F.3d at 853; Steadfast, 2009 WL 3785565, at *6, 2; ECF Nos. 74-21; 74-31 at PageID.5410
  (Roosevelt); 74-49; 74-50 (Leonard, Kanotex, and Delta); 75-1 (Leonard, Delta, and Roosevelt);
  75-14 (Mid-West); 75-16; 77-19 at PageID.6956 (Kanotex). Second, the Government directed and
  supervised the Eight’s production process by, for example, mandating product specifications and
  petroleum concentration. See PPG, 957 F.3d at 397; FMC, 29 F.3d at 843; Exxon, 108 F. Supp. 3d
  at 525; Miami-Dade, 345 F. Supp. 2d at 1341, 1344, 1346; ECF Nos. 74-21; 74-42; 74-49; 74-50
  (Leonard, Mid-West, Delta, and Roosevelt); 75-1 (Mid-West, Delta, Roosevelt, and Vickers); 75-
  2 (Roosevelt and Vickers); 75-10 (Mid-West); 75-14 (Mid-West); 75-16; 75-29 (Mid-West); 75-
  50; 76-1 (Bell, Kanotex, and Vickers); 77-19 at PageID.6956. Third, the Government had seized
  at least one other petroleum processing plant. See PPG, 957 F.3d at 404; FMC, 29 F.3d at 936;
  Exxon, 108 F. Supp. 3d at 524; Steadfast, 2009 WL 3785565, at *4–6; ECF Nos. 77-49; 77-50 at
  PageID.7203; 78-1; 94-14 at PageID.11060. Fourth, the Government was aware that processing
  petroleum created pollution and that the Eight’s petroleum processing created pollution. See FMC,
  29 F.3d at 838; Exxon 108 F. Supp. 3d at 529; ECF Nos. 77-47 (inspecting nearly every inch of
  the refinery from storage capacity of crude oil to “control of dust, fumes, and vapors”); 78-19 at
  PageID.7538; 78-20 at PageID.7569; 78-28 (“The recovery of slop oils, which is a necessary
  function in any refinery . . . .”); 78-29; 94-14 (ordering “personnel working on . . . . waste oil
  separators” to “[r]eturn to work”). Fifth, through inspections, the Government was aware of and
  monitored the Eight’s production of petroleum waste. See FMC, 29 F.3d at 838; Brighton I, 153
  F.3d at 327 (Moore, J. concurring in the result); ECF Nos. 77-47; 78-19 at PageID.7538 (Delta,
  Roosevelt, and Vickers); 78-20 at PageID.7569 (Delta, Roosevelt, and Vickers); 78-28 (Delta,
  Roosevelt, and Vickers); 78-29 (Roosevelt and Vickers); 94-14 at PageID.11060. Sixth, the
  Government had expertise and knowledge of the dangers of waste created by processing
  petroleum. Brighton I, 153 F.3d at 327 (Moore, J., concurring in the result); ECF Nos. 77-47; 78-
  28; 78-29; 94-14 at PageID.11060. Seventh, the Government determined the Eight’s operational
  plans. See Brighton I, 153 F.3d at 327 (Moore, J., concurring in the result); ECF Nos. 74-22
  (Leonard); 74-42; 74-50 (Leonard, Delta, and Roosevelt); 75-1 (Leonard, Delta, Roosevelt, and
  Vickers); 75-15 (Mid-West); 75-50; 76-1 (Bell, Kanotex, and Vickers). Eighth, the Government
  publicly declared responsibility over all petroleum refineries and their employees with words and
  actions. See Brighton I, 153 F.3d at 327 (Moore, J., concurring in the result); ECF Nos. 77-19 at
  PageID.6958 (announcing nationwide that “[a]ll U. S. refiners were notified of the change in
  octane rating of house brand gasoline”); 94-14 at PageID.11060; see, e.g., 77-47 at PageID.7151
  (showing at least 126 armed military guards were permanently stationed at some refineries,
  conducting hourly “watchmen” inspections under 24-hour ops). Ninth, the Government had more
  than a mere contractual relationship with the Eight. See Brighton I, 153 F.3d at 315–16; ECF Nos.
  74-42; 77-47. Tenth, the Government had quality control employees and other representatives on
  site. See Miami-Dade, 345 F. Supp. 2d at 1341–42; ECF No. 77-47. Eleventh, the Government’s
  directives to the Eight led to changes in their waste management. See Steadfast, 2009 WL 3785565,
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                                                 IV.

         Plaintiffs claim that the Government operated two refineries in District Five: Caminol’s

  refinery in Hanford, California (“Hanford”) and Caminol’s refinery in Santa Fe Springs, California

  (“Springs”).



  at *5; ECF No. 74-31 at PageID.5422. Twelfth, the Government determined which petroleum
  products the Eight had to produce. See Steadfast, 2009 WL 3785565, at *5–6; ECF Nos. 74-49
  (Mid-West); 74-50 (Kanotex and Delta); 75-14 (Mid-West); 75-16; 75-40 (Leonard). Thirteenth,
  the Government set and adjusted the Eight’s production quotas. See PPG, 957 F.3d at 397, 400,
  403; Steadfast, 2009 WL 3785565 at *4–6; ECF Nos. 74-21; 74-50 (Leonard and Delta); 75-1
  (Leonard and Delta); 75-4 (Leonard); 75-18 at PageID.4964 (Kanotex); 76-1 (Bell, Kanotex, and
  Vickers); 76-2 (Kanotex). Fourteenth, the record indicates that the Government’s directives to the
  Eight were direction, not mere guidance. See Steadfast, 2009 WL 3785565 at *7; ECF Nos. 74-
  42; 74-43; 74-45 at PageID.5902; 74-47 (Mid-West); 74-50 (Leonard, Kanotex, and Delta); 75-1
  (Leonard, Mid-West, Delta, Roosevelt, and Vickers); 75-50; 76-1 (Bell, Kanotex, and Vickers);
  77-47. Fifteenth, the Government inspected the Eight’s disposal sites. See Steadfast, 2009 WL
  3785565, at *1, *4, *5, *7, *8; ECF Nos. 77-47; see also 81-2 at PageID.7797 (Leonard, Mid-
  West, Bell, Kanotex, and Roosevelt). Sixteenth, the Government had officials who worked on site.
  See Exxon, 108 F. Supp. 3d at 526; ECF No. 77-47. Seventeenth, the Government determined who
  could purchase the Eight’s petroleum products. See PPG, 957 F.3d at 397, 400, 403; Steadfast,
  2009 WL 3785565 at *4–6; ECF Nos. 74-21; 75-15 (Mid-West); 75-21 (Delta, Roosevelt, and
  Vickers); 75-43 (Bell). Eighteenth, the Government was permanently stationed on site. See Exxon,
  108 F. Supp. 3d at 525–26, 532; ECF No. 77-47. Nineteenth, the Eight resembled a military base.
  See Exxon, 108 F. Supp. 3d at 533; ECF No. 77-47. Twentieth, the Government required the Eight
  to send regular reports regarding petroleum processing. See Exxon, 108 F. Supp. 3d at 509, 527,
  532; ECF Nos. 74-20; 74-21; 74-45 at PageID.5902; 74-49 (Leonard); 75-50; 76-1 (Bell, Kanotex,
  and Vickers). Twenty-first, the Government controlled the priority of orders for petroleum
  products at the Eight. See PPG, 957 F.3d at 397, 403; ECF No. 74-21. Twenty-second, the
  Government participated in decisions related to the Eight’s pollution. See Exxon, 108 F. Supp. 3d
  at 527; Steadfast, 2009 WL 3785565, at *8; ECF No. 74-31 at PageID.5422. Twenty-third, the
  Government determined sales prices for Leonard, Mid-West, Bell, Kanotex, Delta, Roosevelt, and
  Vickers. See PPG, 957 F.3d at 397, 400, 403; Steadfast, 2009 WL 3785565 at *4–6; ECF Nos. 75-
  28 (Mid-West); 75-45 (Kanotex); 76-18 (Delta); 82-16 (Leonard); 82-28 (Mid-West); 83-4
  (Roosevelt); 83-14 (Bell); 83-15 (Bell); 83-32 (Vickers); 83-36 (Vickers). Twenty-fourth, the
  Government audited some of the pollution-related costs at Mid-West and Bell. See Miami-Dade,
  345 F. Supp. 2d at 1341, 1344; ECF Nos. 75-26 (Mid-West); 75-28 (Mid-West); 75-41 (Bell).
  Twenty-fifth, the Government dictated the quantity of petroleum products Bell could sell. See
  PPG, 957 F.3d at 403; ECF No. 75-43. Twenty-sixth, the Government required approval for
  Leonard’s “‘key employee’ bonuses.” See PPG, 957 F.3d at 403; ECF No. 81-2 at PageID.7797.
  Twenty-seventh, the Government approved Leonard’s expansion projects. See PPG, 957 F.3d at
  398; ECF Nos. 74-46. Twenty-eighth, the Government required approval for changes to Leonard’s
  facility. See Exxon, 108 F. Supp. 3d at 495, 502–03; ECF Nos. 75-8 at PageID.5994; 78-2.
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                                                 A.

         According to Plaintiffs, the Government required Hanford to convert equipment and

  operations to make WWII products. ECF No. 68-2 at PageID.1169 (Hanford). Further, the

  Government dictated the “kind and quantity” of Hanford’s petroleum products. Id. at

  PageID.1169–70 (Hanford). And the Government controlled and adjusted the “amount, source,

  and price” of Hanford’s raw materials. Id. at PageID.1170–71 (Hanford). Moreover, the

  Government controlled the sales price and purchasers of Hanford’s petroleum products. Id. at

  PageID.1171 (Hanford). Plaintiffs also contend that the Government conducted safety inspections

  at Hanford related to waste. See id. at PageID.1171–72 (Hanford). Finally, Plaintiffs contend that

  the Government’s involvement in Hanford’s operations affected “pollution and the disposal of

  hazardous substances” because directives affecting production and yields of petroleum affected

  waste streams. See id. at PageID.1172 (Hanford).

                                                 B.

         The Government’s arguments regarding Hanford and Springs vary by refinery.

                                                  i.

         According to the Government, Hanford processed petroleum products for the Government

  under five contracts. ECF No. 81-2 at PageID.7854, 7856. The Government contends that its

  contractual right to control the location and quantity of the sale of Hanford’s petroleum products

  does not amount to control. See id. at PageID.7861. And the Government presents one instance in

  which Hanford was unable to follow a directive to adjust the concentration of its petroleum

  products. See id. at PageID.7857. But the Government concedes that Hanford changed its

  concentration of “91-octane avgas” at the Government’s request. See id. at PageID.7856. The

  Government also contends that the record contains contradictory evidence as to whether Hanford



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  expanded its petroleum-processing facility at PAW’s request. See id. at PageID.7858. But the

  Government believes that its approval of new production equipment at Hanford is not relevant to

  operator liability. See id. at PageID.7861. The Government elaborates that it offered to remove a

  restriction it placed on Hanford if it manufactured different “critical war products,” but Hanford

  did not comply. See id. at PageID.7858–59. Moreover, the Government claims that its directive to

  adjust the petroleum concentration of Hanford’s gasoline production “did not manage . . . or

  dictate” Hanford’s production, despite Hanford’s compliance. See id. at PageID.7859–60. The

  Government also declares that no evidence shows it “controlled” Hanford’s daily production of

  crude. Id. at PageID.7860. Further, the Government admits that it inspected Hanford for “safety

  and security.” Id. at PageID.7862. The Government concludes that sending directives to all District

  Five refineries does not mean it individually controlled Hanford. See id. at PageID.7862.

                                                   ii.

         According to the Government, Springs processed petroleum products for the Government

  under two contracts. Id. at PageID.7854, 7856. The Government contends that its contractual right

  to control the location and quantity of the sale of Springs’s petroleum products does not amount

  to control. See id. at PageID.7861. And the Government presents one instance in which Springs

  was unable to follow a directive to adjust the concentration of its petroleum products. See id. at

  PageID.7857. But the Government concedes that Springs changed its concentration of “91-octane

  avgas” at the Government’s request. See id. at PageID.7856. Further, the Government believes that

  its approval of new production equipment at Springs is not relevant to operator liability. See id. at

  PageID.7861. Moreover, the Government claims that its directive to adjust the petroleum

  concentration of Springs’s gasoline production “did not manage . . . or dictate” Springs’s

  production, despite Springs’s compliance. See id. at PageID.7859–60. The Government also



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  declares that no evidence shows it “controlled” Springs’s daily production of crude. See id. at

  PageID.7860. The Government also denies inspecting Springs. Id. at PageID.7862. The

  Government concludes that sending directives to all District Five refineries does not mean it

  individually controlled Springs. See id. at PageID.7862.

                                                 C.

         Plaintiffs have demonstrated that there is no genuine issue of material fact regarding

  whether the Government was an “operator” of both Hanford and Springs. Construing the facts in

  the light most favorable to the Government, this Court finds that, based on the totality of the

  circumstances, a trier of fact could not reasonably conclude that the Government did not operate

  Hanford and Springs to some extent.

         The same CERCLA standard for operator liability applies to Hanford and Springs. See

  discussion supra Sections II.A, II.B, II.C, III.C. The record comprises over 11,500 pages replete

  with communications between the Government and Hanford and Springs that, if viewed in

  isolation, might be interpreted as either cooperative or coercive. But in viewing the record as a

  whole, no reasonable juror could disagree that the Government exercised all four of FMC’s four

  leading indicia of control over both Hanford and Springs.

         The Government determined which products Hanford and Springs could produce. See ECF

  Nos. 77-1 at PageID.6816 (“THEREFORE ALL PERSONS IN DISTRICT FIVE ARE HEREBY

  NOTIFIED TO COMPLY WITH THE FOLLOWING OPERATING INSTRUCTIONS . . . .”);

  see also 74-19 at PageID.5055; 76-50; 77-8. The Government also repeatedly determined

  Hanford’s and Springs’s production levels (i.e., yield). See ECF Nos. 74-19; 76-50; 77-1; 77-8.

  Moreover, the Government decided to whom Hanford and Springs could sell their products. See




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  ECF Nos. 77-8; 77-12 (Hanford); 77-13; 77-14. Further, the Government controlled the product

  prices for Hanford and Springs. See ECF Nos. 77-10; 77-11; 77-12 (Hanford).

         Plus, the Government publicly declared its control over the petroleum refineries and their

  employees; seized at least one other petroleum refinery; conducted hourly militaristic inspections

  of nearly every aspect of the petroleum refineries; determined and adjusted the petroleum

  concentration of Hanford’s and Springs’s petroleum products, which inherently affected pollution

  levels; and was aware that processing petroleum created such waste. In sum, among other factors

  from operator-liability cases that suggest the Government exercised actual and substantial

  management, direction, or control over a refinery’s pollution-producing operations to some extent,

  30 factors are present regarding both Hanford and Springs.19 Therefore, no reasonable juror could



  19
     First, the Government required Hanford and Springs to process different petroleum products.
  See FMC, 29 F.3d at 853; Steadfast, 2009 WL 3785565, at *6, 2; ECF Nos. 74-19 at PageID.5055;
  76-50; 77-1; 77-8. Second, the Government directed and supervised the production process at
  Hanford and Springs by, for example, mandating product specifications and petroleum
  concentration. See PPG, 957 F.3d at 397; FMC, 29 F.3d at 843; Exxon, 108 F. Supp. 3d at 525;
  Miami-Dade, 345 F. Supp. 2d at 1341, 1344, 1346; ECF Nos. ECF Nos. 74-19 at PageID.5055;
  76-50 at PageID.6793; 77-1 at PageID.6816; 77-4; 77-8 at PageID.6867; 77-19 at PageID.6956.
  Third, the Government had seized at least one other petroleum processing plant. See PPG, 957
  F.3d at 404; FMC, 29 F.3d at 936; Exxon, 108 F. Supp. 3d at 524; Steadfast, 2009 WL 3785565,
  at *4–6; ECF Nos. 77-49; 77-50 at PageID.7203; 78-1; 94-14 at PageID.11060. Fourth, the
  Government was aware that processing petroleum created pollution and that petroleum processing
  created pollution at Hanford and Springs. See FMC, 29 F.3d at 838; Exxon 108 F. Supp. 3d at 529;
  ECF Nos. 77-47 (inspecting nearly every inch of the refinery from storage capacity of crude oil to
  “control of dust, fumes, and vapors”); 78-19 at PageID.7538; 78-20 at PageID.7569; 78-28 (“The
  recovery of slop oils, which is a necessary function in any refinery . . . .”); 78-29; 94-14 (ordering
  Gulf’s “personnel working on . . . . waste oil separators” to “[r]eturn to work”). Fifth, through
  inspections, the Government was aware of and monitored the production of petroleum waste at
  Hanford and Springs. See FMC, 29 F.3d at 838; Brighton I, 153 F.3d at 327 (Moore, J. concurring
  in the result); ECF Nos. 76-34; 77-47; 78-19 at PageID.7538; 78-20 at PageID.7569; 78-24 at
  PageID.7666; 78-28; 78-29; 94-14 at PageID.11060. Sixth, the Government had expertise and
  knowledge of the dangers of waste created by processing petroleum. Brighton I, 153 F.3d at 327
  (Moore, J., concurring in the result); ECF Nos. 77-47; 78-28; 78-29; 94-14 at PageID.11060.
  Seventh, the Government determined the operational plans for Hanford and Springs. See Brighton
  I, 153 F.3d at 327 (Moore, J., concurring in the result); ECF Nos. 74-19 at PageID.5055; 76-50 at
  PageID.6793; 77-1 at PageID.6816; 77-8 at PageID.6867. Eighth, the Government publicly
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  declared responsibility over all petroleum refineries and their employees with words and actions.
  See Brighton I, 153 F.3d at 327 (Moore, J., concurring in the result); ECF Nos. 77-19 at
  PageID.6958 (announcing nationwide that “[a]ll U. S. refiners were notified of the change in
  octane rating of house brand gasoline”); 94-14 at PageID.11060; see, e.g., 77-47 at PageID.7151
  (showing at least 126 armed military guards were permanently stationed at some refineries,
  conducting hourly “watchmen” inspections under 24-hour ops). Ninth, the Government had more
  than a mere contractual relationship with Hanford and Springs. See Brighton I, 153 F.3d at 315–
  16; ECF Nos. 77-9 at PageID.6871 (Hanford); 77-21 at PageID.6973 (Springs); 77-47. Tenth, the
  Government had quality control employees and other representatives on site. See Miami-Dade,
  345 F. Supp. 2d at 1341–42; ECF No. 77-47. Eleventh, the Government’s directives to Hanford
  and Springs led to changes in their waste management. See Steadfast, 2009 WL 3785565, at *5;
  ECF No. 74-31 at PageID.5422; 77-9 at PageID.6870–71 (Hanford); 77-21 at PageID.6973
  (Springs). Twelfth, the Government determined which petroleum products Hanford and Springs
  had to produce. See Steadfast, 2009 WL 3785565, at *5–6; ECF Nos. 74-19 at PageID.5055; 76-
  50; 77-1; 77-8. Thirteenth, the record indicates that the Government’s directives to Hanford and
  Springs were direction, not mere guidance. See Steadfast, 2009 WL 3785565 at *7; ECF Nos. 74-
  19 at PageID.5055; 76-50 at PageID.6793; 77-1 at PageID.6816; 77-8 at PageID.6867. Fourteenth,
  the Government inspected and approved the disposal sites at Hanford and Springs. See Steadfast,
  2009 WL 3785565, at *1, *4, *5, *7, *8; ECF Nos. 76-34; 77-47; 78-7 at PageID.7286; 78-31; 78-
  32; 78-33; 78-34; 78-35. Fifteenth, the Government had officials who worked on site. See Exxon,
  108 F. Supp. 3d at 526; ECF No. 77-47. Sixteenth, the Government was permanently stationed on
  site. See Exxon, 108 F. Supp. 3d at 525–26, 532; ECF No. 77-47; 94-14 at PageID.11060.
  Seventeenth, Hanford and Springs resembled a military base. See Exxon, 108 F. Supp. 3d at 533;
  ECF No. 77-47. Eighteenth, the Government participated in decisions related to pollution at
  Hanford and Springs. See Exxon, 108 F. Supp. 3d at 527; Steadfast, 2009 WL 3785565, at *8; ECF
  No. 74-31 at PageID.5422. Nineteenth, the Government approved expansion projects at Hanford
  and Springs. See PPG, 957 F.3d at 398; ECF Nos. 77-9 at PageID.6870–71 (Hanford); 77-21 at
  PageID.6973. Twentieth, the Government required approval for changes to Hanford’s and
  Springs’s facility. See Exxon, 108 F. Supp. 3d at 495, 502–03; ECF Nos. 77-1; 77-9 at
  PageID.6870–71 (Hanford); 77-21 at PageID.6973 (Springs). Twenty-first, the Government, in
  part, established and designed Hanford and Springs. See Brighton I, 153 F.3d at 327 (Moore, J.,
  concurring in the result); See Exxon, 108 F. Supp. 3d at 526; ECF Nos. 77-9 at PageID.6870–71
  (Hanford); 77-21 at PageID.6973 (Springs). Twenty-second, the Government designed, specified,
  or provided some of the equipment and machinery needed to process petroleum at Hanford and
  Springs. See FMC, 29 F.3d at 838; Steadfast, 2009 WL 3785565, at *5–6; ECF Nos. 77-9 at
  PageID.6870–71 (Hanford); 77-21 at PageID.6973 (Springs). Twenty-third, the Government set
  and adjusted Hanford’s and Springs’s production quotas. See PPG, 957 F.3d at 397, 400, 403;
  Steadfast, 2009 WL 3785565 at *4–6; ECF Nos. 76-50; 77-8; 77-9; 77-21. Twenty-fourth, the
  Government determined who could purchase petroleum products from Hanford and Springs. See
  PPG, 957 F.3d at 397, 400, 403; Steadfast, 2009 WL 3785565 at *4–6; ECF Nos. 77-8; 77-12
  (Hanford); 77-13; 77-14. Twenty-fifth, the Government controlled the product prices for Hanford
  and Springs. See ECF Nos. 77-10; 77-11; 77-12 (Hanford). Twenty-sixth, the Government
  required Hanford and Springs to send regular reports regarding petroleum processing. See Exxon,
  108 F. Supp. 3d at 509, 527, 532; ECF Nos. 74-19; 76-50. Twenty-seventh, the Government
  determined Hanford’s and Springs’s sales prices. See PPG, 957 F.3d at 397, 400, 403; Steadfast,
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  find that the extent of the Government’s management, direction, and control over Hanford and

  Springs had nothing “to do with” the amount of waste it produced. See Bestfoods, 524 U.S. at 66.

                                                 V.

         Plaintiffs claim that the Government operated two refineries in District Three: Gulf Oil’s

  refinery in Port Arthur, Texas (“Gulf”) and Eastern States’s refinery in Houston, Texas

  (“Eastern”).

                                                 A.

         According to Plaintiffs, the Government required Gulf and Eastern to convert equipment

  and operations to make WWII products. ECF No. 68-2 at PageID.1176–77 (Gulf); id. at

  PageID.1187 (Eastern). Further, the Government dictated the “kind and quantity” of Gulf’s and

  Eastern’s petroleum products through, for example, “enumerated temperature specifications” and

  a maximum “octane number” for manufacturing gasoline. Id. at PageID.1177–78 (Gulf); id. at

  PageID.1187 (Eastern). And the Government controlled and adjusted the “amount, source, and

  price” of Gulf’s and Eastern’s raw materials. Id. at PageID.1178–79 (Gulf); id. at PageID.1187

  (Eastern). Moreover, the Government controlled the sales price and purchasers of Gulf’s and

  Eastern’s petroleum products. Id. at PageID.1179–80 (Gulf); id. at PageID.1187 (Eastern).

  Plaintiffs also contend that the Government controlled Eastern’s employees’ salaries. See id. at

  PageID.1187–88. Plaintiffs also contend that the Government conducted safety inspections at Gulf




  2009 WL 3785565 at *4–6; ECF Nos. 77-10; 77-11; 77-12 (Hanford). Twenty-eighth, the
  Government had unfettered control over waste-related activities at Hanford and Springs. See
  Steadfast, 2009 WL 3785565; ECF Nos. 77-9 at PageID.6870–71 (Hanford); 77-21 at
  PageID.6973 (Springs). Twenty-ninth, the Government allowed Hanford and Springs to request
  exceptions from its mandates. See ECF Nos. 77-1; 77-9 at PageID.6870–71 (Hanford); 77-10; 77-
  11 (Hanford); 77-21 at PageID.6973 (Springs). Thirtieth, the Government admitted to delaying the
  improvement of the disposal process at Hanford and Springs. See Exxon, 108 F. Supp. 3d at 531;
  ECF No. 77-9 at PageID.6870–71 (Hanford); 77-21 at PageID.6973 (Springs).
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  related to waste. See id. at PageID.1180–81. Plaintiffs also contend the Government nearly seized

  Gulf. Id. at PageID.1181. Finally, Plaintiffs contend that the Government’s involvement in Gulf’s

  and Eastern’s operations affected “pollution and the disposal of hazardous substances” because

  directives affecting production and yields of petroleum affected waste streams. See id. at

  PageID.1181–82 (Gulf); id. at PageID.1188–89 (Eastern).

                                                 B.

         The Government’s arguments regarding Gulf and Eastern vary by refinery.

                                                  i.

         According to the Government, “at PAW’s request” and not under contract, Gulf expanded

  its facilities and installed “additional equipment” to produce petroleum products for the

  Government. ECF No. 81-2 at PageID.7835. The Government also discusses its approval of Gulf’s

  proposed cost analysis. Id. at PageID.7836. Further, the Government notes its failed attempt to

  control the price of Gulf’s private contracts for petroleum products. Id. at PageID.7837–38. And

  the Government mentions its self-deferential “fair and reasonable” approval standard by which it

  would “certify” Gulf’s proposed sales prices. Id. at PageID.7838. The Government elaborates that

  it granted Gulf reimbursements for some losses incurred from the Government’s directives. Id. at

  PageID.7839. And the Government acknowledges that it required a 4¢ lower sales price than what

  Gulf requested. Id. at 7839–40. The Government also claims that its directives to Gulf limiting

  crude input led to an increase in both yields of petroleum products and crude throughput. Id. at

  PageID.7840–41. Further, the Government contends that its directives not to use benzol to produce

  crude did not direct Gulf to “discontinue production of certain products.” Id. at PageID.7841. The

  Government also asserts that “Plaintiffs selectively quote and mischaracterize” three PAW

  directives. Id. at PageID.7841–42. Moreover, the Government admits to rejecting Gulf’s



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  “proposed construction projects” but claims they were not related to hazardous waste disposal. Id.

  at PageID.7834. Finally, the Government concedes that it “prepared” a draft executive order to

  seize Gulf, which was not executed because it became moot. Id. at PageID.7844.

                                                  ii.

         According to the Government, Eastern processed petroleum products for WWII on its own

  volition. ECF No. 81-2 at PageID.7845. The Government discusses how Eastern asked the

  Government to fund Eastern’s refinery, which PAW supported. Id. The Government elaborates

  that it purchased and owned the land upon which Eastern “was responsible for constructing and

  operating the plant.” Id. The Government also claims it negotiated Eastern’s sales prices. Id.

  Moreover, the Government admits that it was aware that Eastern created waste when it processed

  petroleum. See id. at PageID.7846. The Government claims Eastern was the only operator of its

  facility because it publicly said so. See id. at PageID.7846–50. The Government also indicates that

  Eastern could not convert its facility’s production capacities without governmental approval

  pursuant to their contract. Id. at PageID.7847. And the Government admits that it inspected Eastern

  and surveyed its employees. Id. at PageID.7847–49. Moreover, the Government concedes that it

  was aware that Eastern was not cleaning up its hazardous waste properly, which the Government

  considered “systemic” to refinery culture. See id. at PageID.7849–50. The Government also

  contends that Eastern leased the Government’s equipment to produce petroleum products. Id. at

  PageID.7850–51. Further, the Government acknowledges evidence that demonstrates it had the

  authority to approve or reject Eastern’s employees’ salaries. Id. at PageID. 7851. Finally, the

  Government admits that it was aware Eastern was disposing of hazardous waste and merely made

  suggestions instead of directives for disposal. Id. at PageID.7852.

                                                  C.



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         Plaintiffs have demonstrated that there is no genuine issue of material fact regarding

  whether the Government was an “operator” of both Gulf and Eastern. Construing the facts in the

  light most favorable to the Government, this Court finds that, based on the totality of the

  circumstances, a trier of fact could not reasonably conclude that the Government did not operate

  Gulf and Eastern to some extent.

         The same CERCLA standard for operator liability applies to Gulf and Eastern. See

  discussion supra Sections II.A, II.B, II.C, III.C. The record comprises over 11,500 pages replete

  with communications between the Government and Gulf and Eastern that, if viewed in isolation,

  might be interpreted as either cooperative or coercive. But in viewing the record as a whole, no

  reasonable juror could disagree that the Government exercised all four of FMC’s four leading

  indicia of control over Gulf and two of four over Eastern.

         The record indicates that the Government determined which petroleum products Gulf and

  Eastern could produce. See ECF Nos. 74-21 (Gulf); 77-19; 77-31 (Gulf); 77-32; 77-33; 77-34

  (Gulf); 77-35; 77-36 (Gulf); 77-37 (Gulf); 77-40 (Gulf); 77-45 (Gulf); 77-46; 78-3 (Eastern). The

  Government also repeatedly determined Gulf’s and Eastern’s production levels (i.e., yield). See

  ECF Nos. 74-21 (Gulf); 77-31 (Gulf); 77-32; 77-33; 77-34 (Gulf); 77-35; 77-36 (Gulf); 77-37

  (Gulf); 77-45 (Gulf); 77-46; 78-3 (Eastern). Moreover, the Government decided to whom Gulf

  could sell petroleum products. See ECF No. 74-21; 77-30 at PageID.7097; 77-43; 77-44; 77-45;

  77-46. Further, the Government controlled the product prices for Gulf. See ECF Nos. 77-43; 77-

  44.

         Plus, the Government publicly declared its control over the petroleum refineries and their

  employees; seized at least one other petroleum refinery; conducted hourly militaristic inspections

  of nearly every aspect of the petroleum refineries; determined and adjusted the petroleum



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  concentration of Gulf’s and Eastern’s petroleum products, which inherently affected pollution

  levels; and was aware that processing petroleum created such waste. In sum, among other factors

  from operator-liability cases that suggest the Government exercised actual and substantial

  management, direction, or control over a refinery’s pollution-producing operations to some extent,

  41 factors are present regarding Gulf and 43 regarding Eastern.20 Therefore, no reasonable juror



  20
     First, the Government required Gulf and Eastern to process different petroleum products. See
  FMC, 29 F.3d at 853; Steadfast, 2009 WL 3785565, at *6, 2; ECF Nos. 74-21 (Gulf); 77-19; 77-
  31 (Gulf); 77-32; 77-33; 77-34 (Gulf); 77-35; 77-36 (Gulf); 77-37 (Gulf); 77-40 (Gulf); 77-45
  (Gulf); 77-46 (Gulf); 78-3 (Eastern). Second, the Government directed and supervised the
  production process at Gulf and Eastern by, for example, mandating product specifications and
  petroleum concentration. See PPG, 957 F.3d at 397; FMC, 29 F.3d at 843; Exxon, 108 F. Supp. 3d
  at 525; Miami-Dade, 345 F. Supp. 2d at 1341, 1344, 1346; ECF Nos. 74-21 (Gulf); 77-19; 77-31
  (Gulf); 77-32; 77-33; 77-34 (Gulf); 77-35; 77-36 (Gulf); 77-37 (Gulf); 77-40 (Gulf); 77-45 (Gulf);
  77-46 (Gulf); 78-3 (Eastern); see also ECF No. 94-14 at PageID.11060 (Gulf). Third, the
  Government had seized at least one other petroleum processing plant. See PPG, 957 F.3d at 404;
  FMC, 29 F.3d at 936; Exxon, 108 F. Supp. 3d at 524; Steadfast, 2009 WL 3785565, at *4–6; ECF
  Nos. 77-49; 77-50 at PageID.7203; 78-1; 94-14 at PageID.11060 (Gulf). Fourth, the Government
  was aware that processing petroleum created pollution and that petroleum processing created
  pollution at Gulf and Eastern. See FMC, 29 F.3d at 838; Exxon 108 F. Supp. 3d at 529; ECF Nos.
  77-47 (inspecting nearly every inch of the refinery from storage capacity of crude oil to “control
  of dust, fumes, and vapors”); 78-19 at PageID.7538; 78-20 at PageID.7569; 78-28 (“The recovery
  of slop oils, which is a necessary function in any refinery . . . .”); 78-29; 94-14 (ordering Gulf’s
  “personnel working on . . . . waste oil separators” to “[r]eturn to work”). Fifth, through inspections,
  the Government was aware of and monitored the production of petroleum waste at Gulf and
  Eastern. See FMC, 29 F.3d at 838; Brighton I, 153 F.3d at 327 (Moore, J. concurring in the result);
  ECF Nos. 76-34 (Eastern); 77-47 (Gulf); 78-19 at PageID.7538 (Eastern); 78-20 at PageID.7569
  (Eastern); 78-24 at PageID.7666 (Eastern); 78-28 (Eastern); 78-29 (Eastern); 94-14 at
  PageID.11060 (Gulf). Sixth, the Government had expertise and knowledge of the dangers of waste
  created by processing petroleum. Brighton I, 153 F.3d at 327 (Moore, J., concurring in the result);
  ECF Nos. 77-47; 78-28; 78-29; 94-14 at PageID.11060. Seventh, the Government determined the
  operational plans for Gulf and Eastern. See Brighton I, 153 F.3d at 327 (Moore, J., concurring in
  the result); ECF Nos. 74-25; 77-31 at PageID.7104 (Gulf); 77-32; 77-33; 77-34 (Gulf); 77-35; 77-
  36 (Gulf); 77-37 (Gulf); 77-40 (Gulf); 78-3 at PageID.7238, 7239 (Eastern). Eighth, the
  Government publicly declared responsibility over all petroleum refineries and their employees
  with words and actions. See Brighton I, 153 F.3d at 327 (Moore, J., concurring in the result); ECF
  Nos. 77-19 at PageID.6958 (announcing nationwide that “[a]ll U. S. refiners were notified of the
  change in octane rating of house brand gasoline”); 94-14 at PageID.11060 (Gulf); see, e.g., 77-47
  at PageID.7151 (showing at least 126 armed military guards were permanently stationed at some
  refineries, conducting hourly “watchmen” inspections under 24-hour ops). Ninth, the Government
  had more than a mere contractual relationship with Gulf and Eastern. See Brighton I, 153 F.3d at
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  315–16; ECF Nos. 77-47 (Gulf); 77-30 (Gulf); 78-3 at PageID.7234 (paying all Eastern’s
  operational costs); 78-7 at PageID.7284, 7286 (Eastern); 78-14 (Eastern); 78-24 at PageID.7674
  (approving Eastern’s employees’ salaries); 78-25 (Eastern); 78-26 (Eastern); 78-27 (rejecting
  Eastern’s proposed employee salaries); 94-14 at PageID.11060 (Gulf). Tenth, the Government had
  quality control employees and other representatives on site. See Miami-Dade, 345 F. Supp. 2d at
  1341–42; ECF No. 77-47. Eleventh, the Government’s directives to Gulf and Eastern led to
  changes in their waste management. See Steadfast, 2009 WL 3785565, at *5; ECF Nos. 74-31 at
  PageID.5422; 94-14 at PageID.11060. Twelfth, the Government determined which petroleum
  products Gulf and Eastern had to produce. See Steadfast, 2009 WL 3785565, at *5–6; ECF Nos.
  74-21 (Gulf); 77-19; 77-31 (Gulf); 77-32; 77-33; 77-34 (Gulf); 77-35; 77-36 (Gulf); 77-37 (Gulf);
  77-40 (Gulf); 77-45 (Gulf); 77-46 (Gulf); 78-3 (Eastern). Thirteenth, the record indicates that the
  Government’s directives to Gulf and Eastern were direction, not mere guidance. See Steadfast,
  2009 WL 3785565 at *7; ECF Nos. 78-25 (Eastern); 78-26 (Eastern); 78-29 (Eastern); ECF No.
  94-14 at PageID.11060 (Gulf). Fourteenth, the Government inspected the disposal sites at Gulf
  and Eastern. See Steadfast, 2009 WL 3785565, at *1, *4, *5, *7, *8; ECF Nos. 76-34 (Eastern);
  77-47 (Gulf); 78-7 at PageID.7286 (Eastern); 78-31 (Eastern); 78-32 (Eastern); 78-33 (Eastern);
  78-34 (Eastern); 78-35 (Eastern). Fifteenth, the Government had officials who worked on site. See
  Exxon, 108 F. Supp. 3d at 526; ECF No. 77-47. Sixteenth, the Government was permanently
  stationed on site. See Exxon, 108 F. Supp. 3d at 525–26, 532; ECF No. 77-47; 94-14 at
  PageID.11060. Seventeenth, Gulf and Eastern resembled a military base. See Exxon, 108 F. Supp.
  3d at 533; ECF No. 77-47 (Gulf). Eighteenth, the Government controlled the priority of orders for
  petroleum products at Gulf and Eastern. See PPG, 957 F.3d at 397, 403; ECF No. 74-21 (Gulf);
  74-45; 77-45 (Gulf); 77-46 (Gulf). Nineteenth, the Government participated in decisions related
  to pollution at Gulf and Eastern. See Exxon, 108 F. Supp. 3d at 527; Steadfast, 2009 WL 3785565,
  at *8; ECF No. 74-31 at PageID.5422; 77-30 at PageID.7097 (Gulf); 94-14 at PageID.11060
  (Gulf). Twentieth, the Government approved expansion projects at Gulf and Eastern. See PPG,
  957 F.3d at 398; ECF Nos. 77-30 at PageID.7097 (Gulf); 77-31 at PageID.7104 (Gulf); 77-39
  (Gulf); 77-41 (Gulf); 78-3 (Eastern); 78-4 (Eastern); 78-5 (Eastern); 78-6 (Eastern); 78-7
  (Eastern); 78-8 (Eastern); 78-9 (Eastern); 78-14 (Eastern). Twenty-first, the Government required
  approval for changes to Gulf’s and Eastern’s facility. See Exxon, 108 F. Supp. 3d at 495, 502–03;
  ECF Nos. 77-30 at PageID.7097 (Gulf); 77-31 at PageID.7104 (Gulf); 77-39 (Gulf); 77-41 (Gulf);
  78-3 (Eastern); 78-4 (Eastern); 78-5 (Eastern); 78-6 (Eastern); 78-7 (Eastern); 78-8 (Eastern); 78-
  9 (Eastern). Twenty-second, the Government, in part, established and designed Gulf and Eastern.
  See Brighton I, 153 F.3d at 327 (Moore, J., concurring in the result); See Exxon, 108 F. Supp. 3d
  at 526; ECF Nos. 77-30 at PageID.7097 (Gulf); 77-39 (Gulf); 77-41 (Gulf); 78-3 at PageID.7238
  (Eastern); 78-7 at PageID.7284, 7286 (Eastern); 78-14 (Eastern). Twenty-third, the Government,
  participated in the opening and closing of Gulf and Eastern. See Brighton I, 153 F.3d at 327
  (Moore, J., concurring in the result); ECF Nos. 77-49 at PageID.7177 (Gulf); 78-7 at PageID.7284
  (Eastern); 78-14 (Eastern). Twenty-fourth, the Government had some control over waste disposal
  at Gulf and Eastern. See Brighton I, 153 F.3d at 327 (Moore, J., concurring in the result); ECF
  Nos. 76-34 (Eastern); 77-30 at PageID.7097 (Gulf); 78-28 (Eastern). Twenty-fifth, the
  Government provided financial assistance to Gulf and Eastern to process petroleum. See Miami-
  Dade, 345 F. Supp. 2d at 1341; ECF Nos. 77-30 at PageID.7097 (Gulf); 77-46 (Gulf); 78-3 at
  PageID.7234 (Eastern); 78-8 at PageID.7284 (Eastern). Twenty-sixth, the Government supervised
  or was involved with the hiring and firing of employees involved in cleaning or producing
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  petroleum waste at Gulf and Eastern. See Brighton I, 153 F.3d at 327 (Moore, J., concurring in the
  result); Exxon, 108 F. Supp. 3d at 526; Steadfast, 2009 WL 3785565, at *6; Miami-Dade, 345 F.
  Supp. 2d at 1342; ECF Nos. 77-49 at PageID.7177 (Gulf); 78-24 at PageID.7666 (Eastern); 78-25
  (Eastern); 94-14 at PageID.11060 (Gulf). Twenty-seventh, the Government owned some of the
  materials used at Gulf and Eastern. See Steadfast, 2009 WL 3785565, at *4; ECF Nos. 77-38
  (Gulf); 78-7 at PageID.7284 (Eastern); 78-14 (Eastern). Twenty-eighth, the Government lent
  significant amounts of money to Gulf and Eastern to produce petroleum products. See Steadfast,
  2009 WL 3785565, at *5; ECF Nos. 77-46 (Gulf); 78-3 at PageID.7234 (Eastern). Twenty-ninth,
  the Government told Gulf and Eastern whether, when, how, or where to dispose of waste. See
  Exxon, 108 F. Supp. 3d at 528; Steadfast, 2009 WL 3785565, at *8; ECF No. 76-34 (Eastern); 77-
  30 at PageID.7097 (Gulf). Thirtieth, the Government negotiated with Gulf and Eastern and
  specified how they should dispose of waste. See Exxon, 108 F. Supp. 3d at 525; ECF Nos. 76-34
  (Eastern); 77-30 at PageID.7097 (Gulf); 78-24 at PageID.7666 (Eastern); 76-34 (Eastern). Thirty-
  first, the Government subsidized some of Gulf’s and Eastern’s purchases of the raw materials they
  used to process petroleum products. See PPG, 957 F.3d at 398; ECF Nos. 77-30 at PageID.7097
  (Gulf); 77-46 (Gulf); 78-3 at PageID.7234 (Eastern). Thirty-second, the Government designed,
  specified, or provided some of the equipment and machinery needed to process petroleum at Gulf
  and Eastern. See FMC, 29 F.3d at 838; Steadfast, 2009 WL 3785565, at *5–6; ECF Nos. 77-30 at
  PageID.7097 (Gulf); 77-39 (Gulf); 77-41 (Gulf); 78-7 at PageID.7284 (Eastern); 78-14 (Eastern).
  Thirty-third, the Government dictated the quantity of petroleum products Gulf could sell. See PPG,
  957 F.3d at 403; ECF No. 75-45 at PageID.7143. Thirty-fourth, the Government sent an on-site
  supervisor to Gulf. See FMC, 29 F.3d at 838; ECF No. 94-14 at PageID.11060. Thirty-fifth, the
  Government supervised some of Gulf’s pollution-related employees. See FMC, 29 F.3d at 838;
  ECF No. 94-14 at PageID.11060. Thirty-sixth, the Government set and adjusted Gulf’s production
  quotas. See PPG, 957 F.3d at 397, 400, 403; Steadfast, 2009 WL 3785565 at *4–6; ECF Nos. 74-
  21; 77-30 at PageID.7097; 77-43; 77-44; 77-45 at PageID.7143; 77-46. Thirty-seventh, the
  Government determined who could purchase Gulf’s petroleum products. See PPG, 957 F.3d at
  397, 400, 403; Steadfast, 2009 WL 3785565 at *4–6; ECF Nos. 74-21; 77-30 at PageID.7097; 77-
  43; 77-44; 77-45 at PageID.7143; 77-46. Thirty-eighth, the Government required Gulf to send
  regular reports regarding petroleum processing. See Exxon, 108 F. Supp. 3d at 509, 527, 532; ECF
  Nos. 74-21; 74-43; 74-44; 74-45 at PageID.7143; 74-48. Thirty-ninth, the Government determined
  Gulf’s sales prices. See PPG, 957 F.3d at 397, 400, 403; Steadfast, 2009 WL 3785565 at *4–6;
  ECF Nos. 77-43; 77-44. Fortieth, at least one employee of the Government filled a position at
  Gulf. See Miami-Dade, 345 F. Supp. 2d at 13412; ECF No. 94-14 at PageID.11060. Forty-first,
  the Government reimbursed Gulf for the purchase of some of its petroleum-processing equipment.
  See Steadfast, 2009 WL 3785565, at *5; ECF No. 77-30 at PageID.7097. Forty-second, Eastern
  produced petroleum products exclusively for the Government. See Bestfoods, 524 U.S. at 72; ECF
  No. 78-8 at PageID.7290. Forty-third, the Government oversaw the hiring and firing of employees
  involved in cleaning or producing petroleum waste at Eastern. See Brighton I, 153 F.3d at 327
  (Moore, J., concurring in the result); Exxon, 108 F. Supp. 3d at 526; Steadfast, 2009 WL 3785565,
  at *6; ECF Nos. 78-24 at PageID.7666, 7674; 78-25; 78-26; 78-27. Forty-fifth, the Government
  audited some of Eastern’s pollution-related costs. See Miami-Dade, 345 F. Supp. 2d at 1341, 1344;
  ECF Nos. 78-3; 78-5 at PageID.7257; 78-7 at PageID.7285, 7286; 78-24 at PageID.7674; 78-25;
  78-26; 78-27. Forty-sixth, Eastern believed that the Government was at least in part responsible
  for or involved with its waste-related operations. See Miami-Dade, 345 F. Supp. 2d at 1346; ECF
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  could find that the extent of the Government’s management, direction, and control over Gulf and

  Eastern had nothing “to do with” the amount of waste it produced. See Bestfoods, 524 U.S. at 66.

                                                 VI.

         Plaintiffs also claim that “the Government is a ‘prior owner’ of the Houston Refinery and

  therefore is a ‘potentially responsible party’ subject to response costs under CERCLA.” See

  generally ECF No. 68 at PageID.1073, 1104–06 (quoting 42 U.S.C. § 9607(a)(2)).

         The following photograph illustrates the entire Houston “facility” (i.e., “Eastern”):




  ECF No. 74-18 at PageID.4996 fig. 6.



  No. 76-34. Forty-seventh, the Government leased or owned all the facilities and land at Eastern.
  See Steadfast, 2009 WL 3785565, at *4; Miami-Dade, 345 F. Supp. 2d at 1351, 1354–55; ECF
  Nos. 78-7 at PageID.7284; 78-14. Forty-eighth, the Government owned or leased some of the
  disposal sites at Eastern. See Steadfast, 2009 WL 3785565, at *4; Miami-Dade, 345 F. Supp. 2d at
  1354–55; ECF Nos. 78-7 at PageID.7284; 78-14. Forty-ninth, the Government owned some of
  Eastern’s land. See Steadfast, 2009 WL 3785565, at *4; ECF Nos. 78-7 at PageID.7284; 78-14.
  Fiftieth, the Government had unfettered control over waste-related activities at Eastern. See
  Steadfast, 2009 WL 3785565; ECF No. 76-34. Fifty-first, the Government directed some of
  Eastern’s waste-disposal activities. See Exxon, 108 F. Supp. 3d at 495, 531; Steadfast, 2009 WL
  3785565, at *5; ECF Nos. 76-34; 78-24 at PageID.7666. Fifty-second, the Government controlled
  Eastern’s waste-disposal mechanics. See Steadfast, 2009 WL 3785565, at *6; ECF No. 76-34.
  Fifty-third, the Government authorized wage increases at Eastern. See PPG, 957 F.3d at 397; ECF
  Nos. 78-24 at PageID.7674; 78-25; 78-26; 78-27.
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          As shown above, Eastern consists of two Plancors21: Plancor 1534 to the West (entailing

  one facility within Plant 1 and one facility with Plant 3), and Plancor 911 to the East (entailing all

  of Plant 2). According to Plaintiffs, the Government owned all of Eastern, because Eastern is one

  “facility” under CERLCA and the Government owned part of it, specifically Plancor 911. But for

  the reasons discussed hereafter, the Government is not a “prior owner” of all of Eastern.

                                                     A.

          Owner liability involves less foggy criteria than operator liability. CERCLA imposes

  liability on the person or entity that possesses legal title to the contaminating facility. United States

  v. A & N Cleaners & Launderers, Inc., 788 F. Supp. 1317, 1332 (S.D.N.Y. 1992) (“Mere

  ownership of the property on which the release took place is sufficient to impose liability under §

  107(a), regardless of any control or lack or control over the disposal activities.”). Indeed, courts

  have imposed liability on a facility’s titleholder despite arguments that the owner had no

  responsibility or control over the disposal activity. See, e.g., United States v. Monsanto Co., 858

  F.2d 160, 168 (4th Cir. 1988) (“The plain language of section 107(a)(2) extends liability to owners

  of waste facilities regardless of their degree of participation in the subsequent disposal of

  hazardous waste.” (emphasis added)).

          But some courts have extended owner liability to lessees who sublet a site but maintained

  control over it. United States v. A & N Cleaners and Launderers, Inc., 788 F. Supp. 1317 (S.D.N.Y.

  1992) (holding that lessee bank that subleased property to dry cleaner operator was an “owner”

  subject to liability under 42 U.S.C. § 9607(a)(2) since bank had site control and responsibility for



  21
     The term “Plancor” was a contraction of “Plant Corporation” and was used by the Government
  to designate, administer, and monitor the plants built to support the war effort. Across the nation,
  there were as many as 2,511 Defense Plant Corporation “Plancor” facilities, designated as Plancor
  1 through 2511. Don Strack, Defense Plant Corporation: Overview, UTAHRAILS.NET (Feb. 23,
  2015), https://utahrails.net/industries/defense-plant-corp.php [https://perma.cc/W2GL-AMJ4].
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  the use of the site). Yet other courts have excluded from owner liability persons and entities that

  possess an easement but not legal title. See, e.g., Lincoln Props., Ltd. v. Higgins, 823 F. Supp.

  1528 (E.D. Cal. 1992) (county that had an easement in a sewer line but had no possessory interest

  or authority to determine how the line would be used under California law was not an owner under

  CERCLA).22 So, where does a lessee that does not sublease the property fit into the owner-liability

  inquiry?

                                                  B.

          It is an elementary legal principle that owners and lessees have legally distinct property

  interests. The problem is that, as noted supra Part II, CERCLA defines “owner” by tautology as

  “any person . . . owning the facility.” 42 U.S.C. § 9601(20)(A)(ii). So, who is “owning the

  facility”? An owner.

          An “owner” is “[o]ne who has the legal or rightful title, whether the possessor or not.”

  WEBSTER’S SECOND NEW INTERNATIONAL DICTIONARY 1745 (1935) (emphasis added). Thus,

  possessor and titleholder are distinct identities—albeit not mutually exclusive. Indeed, a lease

  “divides the interests in property between a landlord and a tenant.” LaVonda N. Reed-Huff, Are

  You Still Settling for Cable? A Case for Broader Application of the FCC’s Over-the-Air Reception

  Devices Rule, 26 HASTINGS COMM. & ENT. L.J. 179, 215–16 (2004). Through a lease, a tenant

  generally receives “some but not all of the[] ownership interest,” which is wholly distinct from a

  transfer of all rights. Id. at 216.




  22
    Courts also agree that a parent corporation may be held liable as an owner of its subsidiary’s
  facility if piercing the corporate veil is warranted. Lansford-Coaldale Joint Water Auth. v. Tonolli
  Corp., 4 F.3d 1209 (3rd Cir. 1993); Joslyn Mfg. Co. v. T.L. James & Co., 893 F.2d 80 (5th Cir.
  1990).
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            Because private property rights are creatures of state law, see Bd. of Regents v. Roth, 408

  U.S. 564, 577 (1972), this Court must look to Texas law to determine what the Government

  “owned” under CERCLA. See ECF No. 68-2 at PageID.1182–83 (noting Eastern is in Houston,

  Texas).

            Under Texas law, a title-holding lessor is a legal owner of property who gives a lessee the

  right to use or occupy the property for an agreed length of time. See Coinmach Corp. v. Aspenwood

  Apartment Corp., 417 S.W.3d 909, 918 (Tex. 2013) (treating owners and lessees as having distinct

  property interests) (citing ICM Mortg. Corp. v. Jacob, 902 S.W.2d 527, 530 (Tex. App. 1994));

  see also Freestone Power Generation, LLC v. Texas Comm’n on Env’t Quality, 564 S.W.3d 1, 14

  (Tex. App. 2017) (same under Texas environmental law), aff’d sub nom. Texas Comm’n on Env’t

  Quality v. Brazos Valley Energy, LLC, 582 S.W.3d 277 (Tex. 2019). See generally TEX. PROP.

  CODE ANN. § 92 et seq. (same under Texas property law); Marathon Oil Co. v. Rone, 83 S.W.2d

  1028 (Tex. Civ. App. 1935) (same during WWII).

            So, the operative question is: Did the Government possess legal title to any property at

  Eastern other than Plancor 911? The answer is “No.”

                                                    C.

            Eastern States Petroleum Corp. owned all the real property at Eastern except Plancor 911.

  Indeed, the record suggests that the Government merely leased and, therefore, did not own title to

  the land on which the Plancor 1534 facilities were located (i.e., Plant 1 and Plant 3). Specifically,

  the Government signed a lease agreement on December 5, 1942, to rent that land from Eastern




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  “for a term of 20 years at $1 per year.” See ECF No. 78-3 at PageID.7231, 7234. Therefore, the

  Government did not “own” the Plancor 1534 facilities.23

         Plaintiffs are correct that “[s]tatutory intent and case law supports treatment of the Houston

  Refinery as one integrated CERCLA facility.” ECF No. 68 at PageID.1105 (citing 42 U.S.C. §

  9601(9); then citing Bestfoods, 524 U.S. at 56; then citing Exxon, 108 F. Supp. 3d at 517–19; and

  then citing Sierra Club, Inc. v. Tyson Foods, Inc., 299 F. Supp. 2d 693, 708–10 (W.D. Ky. 2003)).

  Indeed, the Government conceded that its facility was “dependent upon [Eastern’s]” and “could

  not operate within itself.” ECF No. 78-9 at PageID.7343. But Plaintiffs conflate two of CERCLA’s

  provisions, which “must ‘be read as a whole.’” United States v. Atl. Rsch. Corp., 551 U.S. 128,

  135 (2007) (quoting King v. St. Vincent’s Hosp., 502 U.S. 215, 221 (1991).

         The inquiry regarding whether a property is a CERCLA-covered “facility” is distinct from

  whether a person or entity is an “owner” of that facility. Indeed, CERCLA contemplates situations

  involving property owners of contiguous facilities. See 42 U.S.C. § 9607(q)(1)(A)(ii)(I).

         In other words, owners of separate real property are not necessarily liable for each other’s

  clean-up costs simply because their respective properties are considered one “facility” under

  CERLCA. After determining whether a property is a “facility,” the court must still determine if

  any affiliated parties are an “owner,” “operator,” “arranger,” or some combination thereof. To hold

  otherwise would offend the rule against surplusage. TMW Enters., Inc. v. Fed. Ins. Co., 619 F.3d

  574, 578 (6th Cir. 2010) (“Where there are two ways to read the text—and the one that avoids

  surplusage makes the text ambiguous—applying the rule against surplusage is, absent other

  indications, inappropriate.” (quotations and citation omitted)).



  23
    The Government believes it “owned” the Plancor 1534 facilities. See ECF No. 81-2 at
  PageID.7485. But as discussed above, that is simply untrue as a matter of law. Therefore, this
  Court will not consider that issue further.
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         Nothing in CERCLA’s text or history compels the adaptation of Plaintiffs’ extratextual

  hybrid criteria. Although a leasehold interest in a property subject to CERCLA cost recovery might

  indicate some degree of operator liability, it says nothing of owner liability. See Brighton I, 153

  F.3d at 315 n.10 (“Since . . . the entire site is defined as a single facility, if Brighton Township

  exercised authority over the facility, it is liable.” (emphasis added)). That is, under CERCLA, “the

  things you [did not] used to own [do not] own you.” See CHUCK PALAHNIUK, FIGHT CLUB 44

  (2005). Therefore, the Government was an “owner” of only Plancor 911 and did not “own” all, or

  any other part, of Eastern.

                                                  VII.

         As a final matter, the Government objects to the admissibility of two of Plaintiffs’ exhibits.

  It claims that the expert reports prepared by A.J. Gravel, ECF No. 74-18, and David Lerman, ECF

  No. 74-32, are “inadmissible hearsay” under Federal Rules of Evidence 801 and 802. ECF No. 80.

  But given the overwhelming evidence favoring operator liability for the Government, this Court

  did not consider those reports. Therefore, the Government’s objection will be overruled as moot.

                                                  VIII.

         Accordingly, it is ORDERED that Plaintiffs’ Motion for Summary Judgment, ECF No.

  68, is GRANTED IN PART AND DENIED IN PART. Plaintiffs’ Motion is GRANTED as to

  the request for a declaration that the Government is liable as an operator of all 12 facilities.

  Plaintiffs’ Motion is DENIED as to the request for a declaration that the Government was an

  owner of the Plancor 1534 Facilities or the entire Eastern facility; the Government owned only the

  portion of Plancor 911 to which it held legal title.

         Further, it is ORDERED that the Government’s Motion for Summary Judgment, ECF No.

  81, is GRANTED IN PART AND DENIED IN PART. The Government’s Motion is



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  GRANTED as to the request for a declaration that the Government was not an owner of the

  Plancor 1534 Facilities or the entire Eastern facility; the Government owned only the portion of

  Plancor 911 to which it held legal title. The Government’s Motion is DENIED in all other respects.

         Further, it is ORDERED that Defendant’s Objection, ECF No. 80, is OVERRULED AS

  MOOT.

         Further, it is ORDERED that the case shall PROCEED to Phase 2 (Damages) regarding

  all remaining issues.


         Dated: December 9, 2021                         s/Thomas L. Ludington
                                                         THOMAS L. LUDINGTON
                                                         United States District Judge




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